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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


                                           )
Intellectual Ventures I LLC and            )
Intellectual Ventures II LLC,              )
                                           )
                Plaintiffs,                )
                                           )   CIVIL ACTION NO. 1:19-cv-01075-ADA
                                           )
       v.                                  )
                                           )
VMware, Inc.,                              )
                                           )
                Defendant.                 )
                                           )


                        DECLARATION OF DR. ROBERT AKL, D.SC.
            IN SUPPORT OF PLAINTIFFS’ CLAIM CONSTRUCTIONS FOR TERMS IN
                        U.S. PATENT NOS. RE 44,686 AND RE 42,726
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                           to monitor resource denials and to send a virtual server overloaded
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                 2.        [1.B], [4.B], [5.C] “a virtual server resource modifier
                           [communicatively coupled to the first physical host and] configured
                           to receive the virtual server overloaded signal and, in response to the
                           virtual server overloaded signal, to modify a resource allocation for
                           the virtual server and to send a virtual server resource modification
                           signal” ....................................................................................................... 12
                 3.        [1.C], [4.C], [5.D] “a load balancing module [communicatively
                           coupled to the plurality of physical hosts and] configured to receive
                           the virtual server resource modification signal and to determine
                           whether the first physical host is overloaded and, in response to a

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           determination that the first physical host is overloaded, to send a
           physical host transfer signal that indicates a second physical host” ......... 13
     4.    [1.D], [4.D], [5.E] “a dynamic virtual server mover
           [communicatively coupled to the plurality of physical hosts and]
           configure to receive the physical host transfer signal and, in
           response to the physical host transfer signal, to transfer the virtual
           server from the first physical host to the second physical host” / “the
           dynamic virtual server mover is further configured to direct the first
           physical host to store, in the file system, a set of system files for the
           virtual server and to direct the second physical host to access, from
           the file system, the set of system files for the virtual server, thereby
           transferring the virtual server from the first physical host to the
           second physical host” ................................................................................ 13




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       I, Robert Akl, D.Sc., hereby declare:

I.     INTRODUCTION

       1.      I am over the age of 18 and am competent to make this Declaration. I have personal

knowledge, or have developed knowledge, of these technologies based upon my education,

training, and/or experience, of the matters set forth herein.

       2.      I have been retained by counsel for plaintiffs Intellectual Ventures I LLC and

Intellectual Ventures II LLC (collectively, “IV”), in the above matter. I am submitting this

Declaration to address the meaning and construction of certain disputed terms in U.S Patent No.

RE 44,686 (“’686 patent”) and U.S Patent No. RE 42,726 (“’726 patent”). For the purposes of

this Declaration, I have not been asked to opine on the meaning of any other disputed terms not

addressed below.

II.    QUALIFICATIONS AND PROFESSIONAL EXPERIENCE

       3.      I am an expert in the field of networking systems. I have studied, taught, practiced,

and researched this field for over twenty-five years. I have summarized in this section my

educational background, work experience, and other relevant qualifications. Attached hereto as

Appendix A, is a true and correct copy of my curriculum vitae describing my background and

experience.

       4.      I earned my Bachelor of Science degrees in Electrical Engineering and Computer

Science summa cum laude with a grade point average of 4.0/4.0 and a ranking of first in my

undergraduate class from Washington University in St. Louis in 1994. In 1996, I earned my Master

of Science degree in Electrical Engineering from Washington University in St. Louis with a grade

point average of 4.0/4.0.     I earned my Doctor of Science in Electrical Engineering from


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Washington University in St. Louis in 2000, again with a grade point average of 4.0/4.0, with my

dissertation being on “Cell Design to Maximize Capacity in Cellular Code Division Multiple

Access (CDMA) Networks.”

       5.      While a graduate student, from 1996 through 2000, I worked at MinMax

Corporation in St. Louis, where I designed software packages that provided tools to flexibly

allocate capacity in a CDMA communications network and maximize the number of subscribers.

I also analyzed and simulated different audio compression schemes. I also validated the hardware

architecture for an Asynchronous Transfer Mode (ATM) switch capable of channel group

switching, as well as performed logical and timing simulations, and developed the hardware

architecture for the ATM switch. I also worked with Teleware Corporation in Seoul, South Korea,

where I designed and developed algorithms that were commercially deployed in a software

package suite for analyzing the capacity in a CDMA network implementing the IS-95 standard to

maximize the number of subscribers.

       6.      After obtaining my Doctor of Science degree, I worked as a Senior Systems

Engineer at Comspace Corporation from October of 2000 to December of 2001. At Comspace,

I designed and developed advanced data coding and modulation methods for improving the

reliability and increasing the available data rates for cellular communications. I coded and

simulated different encoding schemes (including Turbo coding, Viterbi decoding, trellis coded

modulation, and Reed-Muller codes) and modulation techniques using amplitude and phase

characteristics and multi-level star constellations. This work further entailed the optimization of

soft decision parameters and interleavers for additive white Gaussian and Rayleigh faded channels.




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In addition, I also extended the control and trunking of Logic Trunked Radio (LTR) to include

one-to-one and one-to-many voice and data messaging.

       7.     In January of 2002, I joined the faculty of the University of New Orleans in

Louisiana as an Assistant Professor in the Department of Electrical Engineering. While in this

position, I designed and taught two new courses called “Computer Systems Design I and II.” I also

developed a Computer Engineering Curriculum with a strong hardware-design emphasis, formed

a wireless research group, and advised graduate and undergraduate students.

       8.     In September of 2002, I received an appointment as an Assistant Professor in the

Department of Computer Science and Engineering at the University of North Texas (UNT), in

Denton, Texas. In May of 2008, I became a tenured Associate Professor in the Department of

Computer Science and Engineering. As a faculty member, I have taught courses and directed

research in networking and telecommunications, including 2G, 3G, 4G, 5G, CDMA/WCDMA,

GPS, GSM, UMTS, LTE, ad-hoc networks, Bluetooth, call admission control, channel coding,

communication interfaces and standards, compression, computer architecture, MIMO systems,

multi-cell network optimization, network security, packet-networks, telephony, VoIP, Wi-Fi

(802.11), 802.15.4, Zigbee, wireless communication, and wireless sensors. I am also the director

of the Wireless Sensor Lab (“WiSL”) at UNT. I am a member of the Center for Information and

Cyber Security (CICS) and the NSF Net-Centric & Cloud Software & Systems: Industry-

University Cooperative Research Center (I/UCRC). Several of my research projects are funded

by industry. In January of 2015, I was promoted to Associate Chair of Graduate Studies in the

Department of Computer Science and Engineering.




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       9.      In addition to advising and mentoring students at UNT, I was asked to join the

faculty of the University of Arkansas in Little Rock as an Adjunct Assistant Professor from 2004

to 2008 in order to supervise the research of two Ph.D. graduate students who were doing research

in wireless communications. At UNT, I have advised and supervised more than 250 undergraduate

and graduate students, several of whom received a master’s or doctorate degree under my

guidance.

       10.     I have consistently received funding from the State of Texas, Texas Higher

Education Coordination Board, the National Science Foundation, and industry to design and

conduct robotics, video, and mobile gaming (e.g., Xbox, PC, mobile device) programming summer

camps for middle and high school students at UNT. By using video and mobile gaming as the

backdrop, participants have learned coding and programming principles and developed an

understanding of the role of physics and mathematics in video game design.

       11.     In addition to my academic work, I have remained active in the communication

industry through my consulting work. In 2002, I consulted for Input/Output Inc. and designed and

implemented algorithms for optimizing the frequency selection process used by sonar for scanning

the bottom of the ocean. In 2004, I worked with Allegiant Integrated Solutions in Ft. Worth, Texas

to design and develop an integrated set of tools for fast deployment of wireless networks, using

the 802.11 standard. Among other features, these tools optimize the placement of Access Points

and determine their respective channel allocations to minimize interference and maximize

capacity. I also assisted the Collin County Sheriff’s Office (Texas) in a double homicide

investigation, analyzing cellular record data to determine user location.




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       12.       I have authored and co-authored over 90 journal publications, conference

proceedings, technical papers, book chapters, and technical presentations in a broad array of

communications-related technologies, including networking and wireless communication. I have

also developed and taught over 100 courses related to communications and computer systems,

including several courses on signals and systems, LTE, OFDM, VoIP, Wi-Fi (802.11), 802.15.4,

Zigbee, wireless communication, communications systems, communication interfaces and

standards, sensor networks, source coding and compression, network security, computer systems

design, game and app design, and computer architecture.               These courses have included

introductory courses on communication networks and signals and systems, as well as more

advanced courses on wireless communications. A complete list of my publications and the courses

I have developed and/or taught is also contained in my curriculum vitae.

       13.       My professional affiliations include services in various professional organizations

and serving as a reviewer for a number of technical publications, journals, and conferences. I have

also received a number of awards and recognitions, including the IEEE Professionalism Award

(2008), UNT College of Engineering Outstanding Teacher Award (2008), and Tech Titan of the

Future (2010) among others, which are listed in my curriculum vitae.

       14.       I have also served as an expert in certain legal proceedings. A list of cases in which

I have testified at trial, hearing, or by deposition (including those during the past five years) is

provided in my curriculum vitae. Over the years, I have been retained by both plaintiffs as well

as defendants.

       15.       I am being compensated for my work in this case at my standard rate of $695 per

hour (plus reimbursement for expenses) in connection with my preparation of this report, as well


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as for each hour spent providing deposition or testimony. This compensation is not contingent

upon my performance, the outcome of this case, or any issues involved in or related to this case. I

have no financial interest in this matter.

III.    MATERIALS RELIED UPON IN FORMING MY OPINIONS

        16.     In preparing my opinions, I have reviewed the ’686 and ’726 patents and their

prosecution histories, and have also reviewed the other documents and materials cited herein.

        17.     My opinions are also based upon my education, training, research, knowledge, and

personal and professional experience.

IV.     CLAIM CONSTRUCTION PRINCIPLES

        18.     I am not an attorney. Counsel for IV has informed me about several principles and

standards of patent law, which I have used in developing my opinions expressed herein.

        19.     I have been informed that the claims of a patent define the scope of the invention

and the patentee’s rights. I have been told that patent claims generally should be interpreted

consistent with their plain and ordinary meaning as would have been understood by persons of

ordinary skill in the art, after reviewing the patent claim language, the specification, and the

prosecution history (i.e., the intrinsic record). In this regard, I have also been told that, in order to

determine the proper meaning of a disputed claim term, I first look to the claim language itself,

the specification, and the prosecution history.

        20.     I have been informed that a single claim term should be construed consistently with

its appearance in other places in the same claim or in other claims of the same patent, unless it is

clear from the specification and prosecution history that the terms have different meanings at

different portions of the claims.


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       21.     I have been informed, as a general rule, that unless a patent applicant shows an

intent to limit their invention, particular examples or embodiments discussed in the specification

are not to be read into the claims as limitations. I have also been told that the construction that

stays true to the claim language and most naturally aligns with the patent’s description of the

invention will be the correct construction.

       22.     I have been informed that extrinsic evidence outside the patent and prosecution

history, such as expert testimony, treatises and dictionaries, may also be considered as an aid in

arriving at the proper construction of a claim when a claim term is ambiguous.

       23.     I have been informed that 35 U.S.C. § 112 ¶ 6 (pre-AIA, now § 112(f)) states that

“[a]n element in a claim for a combination may be expressed as a means or step for performing a

specified function without the recital of structure, material, or acts in support thereof, and such

claim shall be construed to cover the corresponding structure, material, or acts described in the

specification and equivalents thereof.” I have also been informed that when a claim uses the phrase

“means for” to describe a limitation, it is presumed that § 112 ¶ 6 applies. Similarly, I understand

that if a claim term does not use the word “means,” there is a rebuttable presumption that 35 U.S.C.

§ 112, ¶ 6 does not apply to that claim term. I understand that when a claim term lacks the word

“means,” the presumption can be overcome and § 112, ¶ 6 will apply if the challenger demonstrates

that the claim term fails to recite sufficiently definite structure or else recites function without

reciting sufficient structure for performing that function. When that presumption is rebutted, I

have been informed that that a “means-plus-function” limitation must be construed to cover the

corresponding structure, material, or acts described in the specification and equivalents thereof.




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        24.     I have been informed that the procedure for construing a “means-plus-function”

claim limitation involves first defining the function of the limitation, and then identifying the

corresponding structure for that function. I have been informed that the function of a means-plus-

function limitation is construed to include the limitations contained in the claim language, and only

those limitations. Further, I have been informed that the corresponding structure is identified by

looking at the specification and prosecution history of the patent. However, structure disclosed in

the specification or the prosecution history is considered “corresponding” structure only if the

specification or prosecution history clearly links or associates that structure to the function recited

in the claim. I have been informed that a bare statement that known techniques or methods can be

used does not disclose structure, even if a person of skill in the art would be capable of

implementing a structure.

V.      LEVEL OF ORDINARY SKILL IN THE ART

        25.     I have been informed that there is a concept in patent law known as a person having

ordinary skill in the art (“POSITA”). I have been informed that this concept refers to a person who

is trained in the relevant technical field of a patent without possessing extraordinary or otherwise

exceptional skill. Further, I have been informed that factors such as the education level of those

working in the field, the sophistication of the technology, the types of problems encountered in the

art, prior art solutions to those problems, and the speed at which innovations are made may help

establish the level of skill in the art.

        26.     Taking these factors into consideration, it is my opinion that a person having

ordinary skill in the art at the time the earliest applications for the ’686 and ’726 patents were filed

would have had a bachelor’s degree in electrical engineering, computer engineering, computer


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science, or a related field, and one to two years of experience in the design or development of

networking systems, or the equivalent.       Additional graduate education could substitute for

professional experience, or significant experience in the field could substitute for formal education.

       27.     Based on my qualifications described above, I was at least a POSITA at the time

the earliest applications for the ’686 and ’726 patents were filed. My opinions herein are from the

perspective of a POSITA as of that date.

VI.    OVERVIEW OF ’686 AND ’726 PATENTS

       28.     The ’686 patent is titled “Dynamically Modifying The Resources Of A Virtual

Server.” It was filed September 19, 2011 and issued December 31, 2013. It claims priority to

Application Priority Date May 11, 2000.

       29.     The ’726 patent is titled “Dynamically Modifying The Resources Of A Virtual

Server.” It was filed January 9, 2008 and issued September 20, 2011. It claims priority to

Application Priority Date May 11, 2000.

       30.     The specifications of the ’686 and ’726 patents are substantively identical, and have

several overlapping claim terms. To the extent that a particular claim term that I address in this

Declaration spans more than one patent, for ease of administration any patent specification

citations are limited to only one patent, as indicated, with the understanding that the corresponding

identical disclosure in any other applicable patent is cited by implication.




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VII.     THE ’686 AND ’726 PATENTS DISPUTED CLAIM TERMS

         A.      “determination that a virtual server is overloaded” (’686 patent claims 5-7)

          Plaintiffs’ Proposed Construction                Defendant’s Proposed Construction
       Plain and ordinary meaning                       “determination that an average number of
                                                        resource denials for a virtual server is
                                                        beyond a pre-configured threshold”
                                                        See also construction of “resource denials”

         31.     In my opinion the term virtual server is a well-known and commonly used term

among those of skill in the art and means exactly what it says; a virtual server. An overload in the

context of a virtual server is equally well understood and is further explained by the language of

the claim itself, that it is based on resource unavailability messages generated from denied requests

to modify a resource allocation.

         B.      “determining that a second physical host can accommodate the requested
                 modified resource allocation” (’686 patent claims 5-7)

           Plaintiffs’ Proposed Construction                Defendant’s Proposed Construction
       Plain and ordinary meaning, in the               Indefinite, or in the alternative “determining
       alternative “determining that a second           that a second physical host can
       physical host can accommodate the                accommodate the denied request to modify
       requests by the virtual server that could        a resource allocation”
       not be immediately serviced”

         32.     In my opinion when the claim is read in its entirety and in light of the specification,

the scope of the disputed term is readily apparent to one of skill in the art, in that the claim element

immediately preceding the disputed term refers to “denied requests to modify a resource

allocation.” As the specification discloses what a denied request to modify a resource allocation

in, how to monitor for it, and gives at least one embodiment complete with exemplary algorithms,

one of skill in the art would be clearly informed that the disputed term refers back to this denied

request to modify a resource allocation, and therefore, would understand that the claimed second


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physical host would be required to have sufficient resources to satisfy the previously requested

and denied resource allocation.

       C.      ’686 patent “component” terms of claim 7

               1.      [7.B] “a component configured to receive an indication that a first
                       physical host is overloaded, wherein the indication is based on a
                       determination that a virtual server is overloaded and wherein the
                       determination that a virtual server is overloaded is based on one or
                       more resource unavailable messages resulting from denied requests to
                       modify a resource allocation”

       33.     In my opinion the claimed indication is the current physical host load on 160A

received from the physical host resource monitor 540 compared to the request for additional

resources 510 by virtual server 162B. Combined with the flow diagrams in Figures 2A and 2B, as

well as the structural limitations of the claim itself, one of skill in the art would be guided by

sufficient disclosure to understand what structure performs the claimed function. See ’686 patent,

Figs. 1 and 5 and corresponding specification.

               2.      [7.C] “a component configured to determine that a second physical host
                       can accommodate the requested modified resource allocation”

       34.     In my opinion, the specification describes in detail how the physical host load

balancer 130 and the load-balancing calculator 530 perform the claimed function. The structure

corresponding to the claimed function includes the load-balancing calculator 530, which is within

the physical host load balancing module 130 contained within the dynamic resource configuration

module 100. When viewed in light of the easiest fit heuristic formula, the flow diagrams in Figures

2A and 2B, as well as the structural limitations of the claim itself, one of skill in the art would be

guided by the sufficient disclosure to understand what structure performs the claimed function.

See ’686 patent, Figs. 1 and 5 and corresponding specification.


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                3.      [7.D] “a component configured to generate a physical host transfer
                        signal that indicates a second physical host and to transfer the virtual
                        server from the first physical host to the second physical host if the first
                        physical host is overloaded”

        35.     In my opinion, the structure that Defendants have proposed for this term is too

narrow and incomplete. More specifically, it does not account for the portion of the claimed

function “generate a physical host transfer signal.” The correct structure for performing the entire

claimed function, in my opinion also includes at least load balancing module 130 and load

balancing calculator 530, in combination with virtual server resource monitor 120 and physical

host resource monitor 540, which are components of dynamic resource configuration module 100.

See ’686 patent, Figs. 1 and 5 and corresponding specification.

        D.      ’726 patent claims 1, 4 & 5

        36.     In my opinion one of ordinary skill in the art would be well-informed of the

structure of the elements from the claim language and specification disclosures. If the Court finds

that § 112 ¶ 6 applies then it is my opinion that each disputed element has sufficient corresponding

structure identified either in the claim itself, specification or both.

                1.      [1.A], [4.A], [5.B] “a virtual server resource monitor [communicatively
                        coupled to the first physical host and] configured to monitor resource
                        denials and to send a virtual server overloaded signal in response to the
                        resource denials”

        37.     In my opinion one of ordinary skill in the art would know from the claims and

specification disclosure that there are any number of different ways to intercept systems calls, and

resource denials can be accounted for and an overload may be determined in ways other than

storing the denials in individual tables and using a pre-specified time window.

                2.      [1.B], [4.B], [5.C] “a virtual server resource modifier [communicatively
                        coupled to the first physical host and] configured to receive the virtual
                        server overloaded signal and, in response to the virtual server
                                                  12

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                       overloaded signal, to modify a resource allocation for the virtual server
                       and to send a virtual server resource modification signal”

       38.     In my opinion, not only is the virtual server resource modifier part of the disclosed

structure, but the structure additionally includes dynamic resource configuration module 100 and

the virtual servers. One of ordinary skill in the art would understand the dynamic resource

configuration module 100 is not a “black box,” but rather, is a well-known component that plays

a part in performing the claimed function. See ’726 patent, Fig. 1 and corresponding specification.

               3.      [1.C], [4.C], [5.D] “a load balancing module [communicatively coupled
                       to the plurality of physical hosts and] configured to receive the virtual
                       server resource modification signal and to determine whether the first
                       physical host is overloaded and, in response to a determination that the
                       first physical host is overloaded, to send a physical host transfer signal
                       that indicates a second physical host”

       39.     In my opinion a person of skill in the art would understand the structure that

performs this function to include the physical hosts 160A-C and virtual servers 162A-C. This is

supported by the specification disclosure as contributing to the claimed function, as seen in Figure

5 and the related description. Additionally, as the physical host load balancing module is part of

the dynamic resource configuration module 100, and includes the physical host resource monitor

540 and load balancing calculator 530, each of these components should be considering part of the

corresponding structure. See ’726 patent, Figs. 1 and 5 and corresponding specification.

               4.      [1.D], [4.D], [5.E] “a dynamic virtual server mover [communicatively
                       coupled to the plurality of physical hosts and] configure to receive the
                       physical host transfer signal and, in response to the physical host
                       transfer signal, to transfer the virtual server from the first physical host
                       to the second physical host” / “the dynamic virtual server mover is
                       further configured to direct the first physical host to store, in the file
                       system, a set of system files for the virtual server and to direct the
                       second physical host to access, from the file system, the set of system



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                        files for the virtual server, thereby transferring the virtual server from
                        the first physical host to the second physical host”

       40.       In my opinion one of ordinary skill in the art would know from the claims and

specification disclosure that physical servers, virtual machines and dynamic resource

configuration module 100 are each structural elements that are part of performing the claimed

function. Further, the specification describes physical host load balancer 130 as using the dynamic

virtual server mover 140 to transfer virtual servers between hosts, indicating that the load balancer

is used, in part, to perform the claimed function. One of skill in the art would understand from the

specification’s disclosures that the “make, then break” and “break, then mark” methods of transfer

are not the only methods for transferring virtual servers. See ’726 patent, Fig. 1 and corresponding

specification.




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I declare under penalty of perjury that the foregoing is true and correct.

Dated: March 27, 2020                            Signed:




                                                                 Dr. Robert Akl, D.Sc.




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Robert Akl, D.Sc.

   Professional Summary

   Dr. Akl has over 25 years of industry and academic experience. He is
   currently a Tenured Associate Professor at the University of North Texas
   and a Senior Member of IEEE. He has designed, implemented, and
   optimized both hardware and software aspects of several wireless communication systems for
   CDMA, Wi-Fi, and sensor networks. Dr. Akl has broad expertise in wireless communication,
   Bluetooth, CDMA/WCDMA network optimization, GSM, LTE, VoIP, telephony, computer
   architecture, and computer networks. He is a very active researcher and is well published and
   cited. He has been awarded many research grants by leading companies in the industry and the
   National Science Foundation. He has developed and taught over 100 courses in his field. Dr.
   Akl has received several awards and commendation for his work, including the 2008 IEEE
   Professionalism Award and was the winner of the 2010 Tech Titan of the Future Award.

   Dr. Akl has extensive experience with patents in the wireless and networking industry. In the
   past ten years, he has worked as a technical expert in dozens of patent related matters, involving
   thousands of hours of research, investigation, and study. He has repeatedly been qualified as
   an expert by Courts, and has provided numerous technology tutorials to Courts, and given
   testimony by deposition and at trial. He has worked with companies large and small, both for
   and against the validity and infringement of patents, and has also helped counsel and Courts to
   understand technology that often seems complex. In doing so, he has become familiar with,
   and actively worked with, the legal principles that underlie patentability and validity and claim
   interpretation in the wireless and networking industries.

   Areas of Expertise

   2G, 3G, 4G, 5G, CDMA/WCDMA, GPS, GSM, UMTS, LTE, Ad-hoc Networks, Antenna
   Design, Bluetooth, Call Admission Control, Channel Coding, Compression, Computer
   Architecture, MIMO Systems, Multi-cell Network Optimization, Packet-networks, Telephony,
   VoIP, Wi-Fi, Wireless Communication, Wireless Sensors.

   Education

    Year       College/University                      Degree                               GPA
    2000       Washington University in Saint Louis    D.Sc. in Electrical Engineering      4.0 / 4.0
    1996       Washington University in Saint Louis    M.Sc. in Electrical Engineering      4.0 / 4.0
    1994       Washington University in Saint Louis    B.Sc. in Electrical Engineering      4.0 / 4.0
    1994       Washington University in Saint Louis    B.Sc. in Computer Science            4.0 / 4.0

   Graduated summa cum laude and ranked first in undergraduate class.
   Dissertation: “Cell Design to Maximize Capacity in Cellular Code Division Multiple Access
   (CDMA) Networks.” Advisors: Dr. Manju Hegde and Dr. Paul Min.

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 Litigation Support and Expert Witness Experience

       L1. 2020          Prince Lobel Tye LLP
           Case:         Intellectual Ventures I and II LLC. v. VMware, Inc.
                         Western district of Texas, Austin division, Case No. 1:19-cv-01075-
                         ADA
              Matter:    Patent infringement, networking systems
              Project:   Declaration to support claim construction

       L2. 2020          Faegre Baker Daniels LLP
           Case:         CommScope, Inc. v. Rosenberger Technology, et al.
                         District of New Jersey, Case No. 19-cv-15962-MCA-LDW
              Matter:    Trade secret software, base station antenna design
              Project:   Declaration, deposition

       L3. 2020          Ropes & Gray LLP
           Case:         Canon, Inc. v. TCL Electronics Holdings Ltd., et al.
                         Eastern district of Texas, Marshal division, Case No. 2:18-cv-546-
                         JRG
              Matter:    Patent infringement, communication interfaces
              Project:   Declaration to support claim construction, deposition

       L4. 2019          Perkins Coie LLP
           Case:         Huizhou TCL Mobile Communication Co. Ltd., TCT Mobile (US)
                         Inc., and TCL Mobile Communication (HK) Co., Ltd. v. Wi-LAN Inc.
                         IPR2020-00302, IPR2020-00303
              Matter:    Inter Partes Review, QoS enhancements for wireless IP networks
              Project:   Two declarations to support two IPR petitions

       L5. 2019          K & L Gates LLP
           Case:         EVS CODEC Technologies, LLC and Saint Lawrence
                         Communications, LLC v. ZTE Corporation, et al.
                         Northern district of Texas, Dallas division, Case No. 3:19-cv-00385-
                         M-BH
              Matter:    Patent infringement, EVS, speech compression, coding and decoding
              Project:   Invalidity expert report

       L6. 2019          Feinberg Day Alberti Lim & Belloli LLP
           Case:         Uniloc 2017 LLC v. AT&T Mobility LLC, et al.
                         Eastern district of Texas, Marshal division, Case No. 2:18-cv-00514-
                         JRG
              Matter:    Patent infringement, wireless frequency bands and devices
              Project:   Two declarations to support claim construction, deposition



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       L7. 2019          Ropes & Gray LLP
           Case:         Huawei Technologies Co. Ltd. v. Harris Global Communications, Inc.
                         IPR2019-01512, IPR2019-01631
              Matter:    Inter Partes Review, routing and security in wireless networks
              Project:   Two declarations to support two IPR petitions

       L8. 2019          Ropes & Gray LLP
           Case:         Harris Corporation v. Huawei Device USA, Inc. et al.
                         Eastern district of Texas, Marshal division, Case No. 2:18-cv-00439-
                         JRG
              Matter:    Patent infringement, routing and security in wireless networks
              Project:   Declaration to support claim construction

       L9. 2019          Erise IP
           Case:         Semcon IP Inc. v. ASUSTeK Computer Inc.
                         Eastern district of Texas, Marshal division, Case No. 2:18-cv-00193-
                         JRG
              Matter:    Patent infringement, adaptive power control
              Project:   Non-infringement expert report

       L10. 2019         Cooley LLP
            Case:        Facebook Inc. v. BlackBerry Corp. et al.
                         Northern District of California, Oakland division, Case No. 4:18-cv-
                         05434-JSW
              Matter:    Patent infringement, mobile computing
              Project:   Declaration to support claim construction

       L11. 2019         Sidley Austin LLP
            Case:        Semcon IP Inc. v. Amazon.com, Inc.
                         Eastern district of Texas, Marshal division, Case No. 2:18-cv-00192-
                         JRG
              Matter:    Patent infringement, adaptive power control
              Project:   Expert report regarding patent marking, rebuttal report regarding
                         patent marking, deposition

       L12. 2019         Oblon, McClelland, Maier & Neustadt, LLP
            Case:        MV3 Partners LLC v. Roku, Inc.
                         Western district of Texas, Waco division, Case No. 6:18-cv-308-ADA
              Matter:    Patent infringement, mobile set top box
              Project:   Declaration to support claim construction, deposition, Markman
                         hearing testimony

       L13. 2019         Banner & Witcoff, LTD.
            Case:        Kathrein USA, Inc. v. Fractus S.A.
                         IPR2019-00954, IPR2019-00955, IPR2019-00956, IPR2019-00957
              Matter:    Inter Partes Review, multiband antenna arrays

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              Project:   Four declarations to support four IPR petitions

       L14. 2019         Fish & Richardson, P.C.
            Case:        LG Electronics Inc. v. Saint Lawrence Communications LLC
                         Southern district of New York, Case No. 1:18-cv-11082-DLC
              Matter:    Patent infringement, EVS, speech compression, coding and decoding
              Project:   Declaration relating to motion for summary judgment, expert report,
                         deposition

       L15. 2019         Ropes & Gray LLP
            Case:        SIPCO, LLC v. Emerson Electric Co.
                         In the Matter of Certain Wireless Mesh Networking Products and
                         Related Components Thereof, ITC Investigation No. 337-TA-1131
              Matter:    Patent infringement, links in wireless networks and remote monitoring
              Project:   Source code review, declaration to support claim construction,
                         invalidity expert report, rebuttal expert report regarding non-
                         infringement and no domestic industry

       L16. 2019         Fish & Richardson, P.C.
            Case:        Maxell Ltd. v. Huawei Technologies Co. Ltd., ZTE, et al.
                         Eastern district of Texas, Texarkana division, Case No. 5:18-cv-0033-
                         RWS
              Matter:    Patent infringement, portable computing devices
              Project:   Declaration regarding claim construction

       L17. 2019         Ropes & Gray LLP
            Case:        Emerson Electric Co. v. SIPCO, LLC
                         IPR2019-00548, IPR2019-00549
              Matter:    Inter Partes Review, routing in wireless networks
              Project:   Two declarations to support two IPR petitions

       L18. 2018         Mishcon de Reya New York LLP
            Case:        ChanBond, LLC v. Atlantic Broadband Group, LLC, et al.
                         District of Delaware, Case No. 1:15-cv-00842-RGA
              Matter:    Patent infringement, wideband signal distribution system
              Project:   Validity expert report, deposition, sur-reply expert report, second sur-
                         reply expert report, second deposition

       L19. 2018         Fish & Richardson, P.C.
            Case:        In re: Qualcomm Antitrust Litigation (Client: Apple)
                         Southern district of California, Case No. 3:17-cv-00108-GPC-MDD
              Matter:    Qualcomm antitrust litigation
              Project:   Two expert rebuttal reports, deposition




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       L20. 2018         Susman Godfrey LLP
            Case:        In re: Qualcomm Antitrust Litigation (Client: Class Action)
                         Northern district of California, Case No. 5:17-md-02773-LHK
              Matter:    Qualcomm antitrust litigation
              Project:   Expert declaration on standard essential patents, expert report on
                         deemed essential patents, rebuttal expert report, deposition

       L21. 2018         284 Partners
            Case:        Federal Trade Commission. v. Qualcomm Incorporated
                         Northern district of California, Case No. 5:17-cv-00220
              Matter:    Qualcomm antitrust litigation
              Project:   Expert report on standard essential patents, expert rebuttal report,
                         deposition

       L22. 2018         Vorys, Sater, Seymour and Pease LLP
            Case:        Route1 Inc. v. Airwatch LLC
                         District of Delaware, Case No. 17-331-RGA
              Matter:    Patent infringement, remote access
              Project:   Source code review, declaration regarding claim construction,
                         infringement expert report, validity expert report, reply expert report,
                         deposition, three declarations regarding re-exam

       L23. 2018         Sidley Austin LLP
            Case:        Samsung Electronics Co., Ltd v. Huawei Technologies Co., Ltd.
                         IPR2017-01471, IPR2017-01474, IPR2017-01475
              Matter:    Inter Partes Review, 4G/LTE
              Project:   Three declarations to support three Patent Owner responses,
                         supplemental declaration, deposition

       L24. 2018         Fitzpatrick Cella Harper & Scinto
            Case:        IPC Systems, Inc. v. Cloud9 Technologies, LLC
                         District of Delaware, Case No. 16-cv-443-GMS
              Matter:    Patent infringement, telephone stations and trading turrets
              Project:   Source code review, declaration regarding claim construction,
                         supplemental declaration regarding claim construction

       L25. 2018         Haynes and Boone, LLP
            Case:        LG Electronics Inc., et al. v. Wi-LAN Inc., et al.
                         IPR2018-00673, IPR2018-00674, IPR2018-00704, IPR2018-00705,
                         IPR2018-00709, IPR2018-00710
              Matter:    Inter Partes Review, bandwidth allocation
              Project:   Six declarations to support six IPR petitions, two depositions, two
                         reply declarations




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       L26. 2018         Pillsbury Winthrop Shaw Pittman LLP
            Case:        Cellular Communications Equipment v. ZTE, HTC Corporation, et al.
                         Eastern district of Texas, Case No. 6:16-cv-475-RWS
              Matter:    Patent infringement, LTE, power control, emergency notification
              Project:   Invalidity expert report, deposition

       L27. 2018         Finnegan Henderson Farabow Garrett & Dunner LLP
            Case:        FanDuel, Inc. DraftKings, Inc., and Bwin.Party Digital Entertainment
                         PLC. v. CG Technology Development, LLC
                         IPR2017-00902, IPR2017-01333, IPR2017-01491, IPR2017-01532
              Matter:    Inter Partes Review, location-based gaming
              Project:   Four declarations to support four Patent Owner responses, two
                         supplemental declarations, four depositions

       L28. 2018         Calfee, Halter & Griswold LLP
            Case:        Hytera Communications Corp. Ltd. v. Motorola Solutions, Inc.
                         Northern district of Ohio, Case No. 1:17-cv-01794-DNC
              Matter:    Patent infringement, two-way radios
              Project:   Source code review, declaration regarding claim construction, rebuttal
                         declaration regarding claim construction, deposition, infringement
                         expert report

       L29. 2017         Covington & Burling LLP
            Case:        Sharp Corporation, et al. v. Hisense Co., Ltd., et al.
                         In the Matter of Certain Wi-Fi Enabled Electronic Devices and
                         Components Thereof, ITC Investigation No. 337-TA-1072
              Matter:    Patent infringement, Wi-Fi, OFDMA
              Project:   Declaration regarding claim construction

       L30. 2017         Vorys, Sater, Seymour and Pease LLP
            Case:        Airwatch LLC and VMWare Inc. v. Route1 Inc.
                         IPR2017-02145
              Matter:    Inter Partes Review, remote access
              Project:   Declaration to support Patent Owner response

       L31. 2017         Simpson Thacher & Bartlett LLP
            Case:        XR Communications, LLC. v. Ubiquiti Networks, Inc.
                         Central district of California, Case No. 2:17-cv-02968-AG(JCGx)
              Matter:    Patent infringement, Wi-Fi and adaptive antennas
              Project:   Declaration regarding claim construction, deposition

       L32. 2017         Covington & Burling LLP
            Case:        Huawei Device USA Inc. v. Hitachi Maxell, Ltd.
                         IPR2018-00209, IPR2018-00210
              Matter:    Inter Partes Review, base station selection, GPS/Cellular location
              Project:   Two declarations to support two IPR petitions

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       L33. 2017         Calfee, Halter & Griswold LLP
            Case:        Hytera Communications Corp. Ltd. v. Motorola Solutions, Inc.
                         IPR2018-00128, IPR2017-02183
              Matter:    Inter Partes Review, two-way radios
              Project:   Declaration to support IPR petition, deposition, two supplemental
                         declarations, two depositions

       L34. 2017         Finnegan Henderson Farabow Garrett & Dunner LLP
            Case:        Hytera Communications Corp. Ltd. v. Motorola Solutions, Inc.
                         IPR2017-02179, IPR2017-02183
              Matter:    Inter Partes Review, two-way radios
              Project:   Two declarations to support two IPR petitions, deposition

       L35. 2017         Mayer Brown LLP
            Case:        Silver Spring Networks, Inc. v. Sunrise Technologies, Inc.
                         Silver Spring Networks, Inc. v. Weatherproof Wireless, LLC
                         IPR2017-To Be Assigned, IPR2017-To Be Assigned
              Matter:    Inter Partes Review, power meter
              Project:   Two declarations to support two IPR petitions

       L36. 2017         Covington & Burling LLP
            Case:        Hitachi Maxell, Ltd. v. Huawei Device USA Inc. et al.
                         Eastern district of Texas, Texarkana division, Case No. 5:16-cv-
                         00178-RWS
              Matter:    Patent infringement, 3G/4G
              Project:   Source code review, declaration regarding claim construction,
                         invalidity expert report, non-infringement expert report, non-
                         infringing alternatives expert report, two depositions

       L37. 2017         Finnegan Henderson Farabow Garrett & Dunner LLP
            Case:        LG Electronics, Inc. et al. v. BLU Products, Inc. and CT Miami, LLC
                         In the Matter of Certain LTE Wireless Communication Devices and
                         Components Thereof, ITC Investigation No. 337-TA-1051
              Matter:    Patent infringement, 4G/LTE
              Project:   Declaration regarding claim construction, second declaration
                         regarding claim construction

       L38. 2017         Sidley Austin LLP
            Case:        Huawei Technologies Co., Ltd. v. Samsung Electronics Co., Ltd.
                         IPR2017-01979, IPR2017-01980, IPR2017-01986
              Matter:    Inter Partes Review, 4G/LTE
              Project:   Three declarations to support three IPR petitions, deposition




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       L39. 2017         Finnegan Henderson Farabow Garrett & Dunner LLP
            Case:        Motorola Solutions, Inc. v. Hytera Communications Corp. Ltd. et al.
                         In the Matter of Certain Two-way Radio Equipment Systems, Related
                         Software and Components Thereof, ITC Investigation No. 337-TA-
                         1053
              Matter:    Patent infringement, two-way radio
              Project:   Source code review, declaration regarding claim construction,
                         invalidity expert report, non-infringement expert report, deposition,
                         ITC hearing testimony

       L40. 2017         Haynes and Boone, LLP
            Case:        Rackspace US, Inc. v. Realtime Data LLC
                         IPR2017-01691
              Matter:    Inter Partes Review, data compression
              Project:   Declaration to support IPR petition

       L41. 2017         Pillsbury Winthrop Shaw Pittman LLP
            Case:        ZTE (USA), HTC Corporation, et al. v. Cellular Communications
                         Equipment
                         IPR2017-01508, IPR2017-01509
              Matter:    Inter Partes Review, LTE, power control, emergency notification
              Project:   Two declarations to support two IPR petitions, two depositions

       L42. 2017         Alston & Bird LLP; Womble Carlyle Sandridge & Rice LLP
            Case:        Itron, Inc. and Duke Energy Corp. v. Smart Meter Technologies
                         IPR2017-01199
              Matter:    Inter Partes Review, power meter
              Project:   Declaration to support IPR petition, deposition

       L43. 2017         Haynes and Boone, LLP
            Case:        Ericsson Inc. v. Regents of the University of Minnesota
                         IPR2017-01186, IPR2017-01200, IPR2017-01213
              Matter:    Inter Partes Review, OFDM and MIMO
              Project:   Three declarations to support three IPR petitions

       L44. 2017         Quinn Emanuel Urquhart & Sullivan, LLP
            Case:        GENBAND US, LLC v. Metaswitch Networks Ltd, et al.
                         Eastern district of Texas, Marshal division, Case No. 2:16-cv-582-
                         JRG-RSP
              Matter:    Patent infringement, Internet protocols and VoIP
              Project:   Expert report regarding essentiality

       L45. 2017         Mayer Brown LLP
            Case:        Uniloc USA, Inc. et al. v. Avaya Inc., ShoreTel, Inc., et al.
                         Eastern district of Texas, Tyler division, Case Nos. 6:15-cv-1168-JRG
              Matter:    Patent infringement, instant messaging and conference calling

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              Project:   Source code review, non-infringement consulting

       L46. 2017         Fish & Richardson P.C.
            Case:        Nokia Solutions and Networks US LLC, et al. v. Huawei
                         Technologies Co. Ltd., et al.
                         Eastern district of Texas, Marshal division, Case Nos. 2:16-cv-753-
                         JRG-RSP, 2:16-cv-754
              Matter:    Patent infringement, 4G/LTE
              Project:   Claim construction, two declarations

       L47. 2017         Rothwell Figg Ernst & Manbeck, PC; Pepper Hamilton LLP
            Case:        Samsung Electronics, et al. v. Rembrandt Wireless Technologies, LP
                         IPR2015-00555
              Matter:    Ex Parte Reexamination, Bluetooth
              Project:   Two declarations to support two Patent Owner responses,
                         supplemental declaration to support Patent Owner reply

       L48. 2016         Sidley Austin LLP
            Case:        Huawei Technologies Co., et al. v. Samsung Electronics Co, et al. and
                         Samsung Research America v. Hisilicon Technologies Co, LTD
                         Northern district of California, San Francisco division, Case No. 3:16-
                         cv-2787-WHO
              Matter:    Patent infringement, 3G/4G/LTE
              Project:   Source code review, declaration regarding claim construction,
                         declaration opposing summary judgement, infringement expert report,
                         invalidity expert report, non-infringement expert report, validity
                         expert report, two depositions

       L49. 2016         Bragalone Conroy PC
            Case:        Securus Technologies, Inc. v. Global Tel*Link Corporation
                         CBM2017-00034
              Matter:    Covered Business Method Review, call monitoring and recording
              Project:   Declaration to support CBM petition, deposition

       L50. 2016         Braxton, Hilton & Perrone PLLC
            Case:        Biosonix, LLC. v. Hydrowave, LLC et al.
                         Eastern district of Texas, Case No. 2:16-cv-139-RC
              Matter:    Patent infringement, underwater transceivers
              Project:   Claim construction, Markman hearing testimony

       L51. 2016         Gray Reed & McGraw
            Case:        Optis Cellular Technology, LLC and PanOptis Patent Management,
                         LLC. v. Blackberry Corporation, et al.
                         Eastern district of Texas, Marshal division, Case No. 2:16-cv-59-JRG-
                         RSP, Case No. 2:16-cv-61-JRG-RSP, Case No. 2:16-cv-62-JRG-RSP
              Matter:    Patent infringement, LTE

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              Project:   Claim construction, three declarations regarding claim construction,
                         deposition

       L52. 2016         Ropes & Gray LLP; Davidson Berquist Jackson & Gowdey
            Case:        SIPCO, LLC et al v. Emerson Electric Co. et al
                         Eastern district of Texas, Tyler division, Case No. 6:15-cv-907
                         Emerson Electric Co. et al v. SIPCO, LLC et al.
                         Northern district of Georgia, Atlanta division, Case No. 1:15-cv-
                         00319-AT
              Matter:    Patent infringement, links in wireless networks and remote monitoring
              Project:   Source code review, invalidity consulting

       L53. 2016         EIP US LLP
            Case:        GENBAND US, LLC et al. v. Metaswitch Networks Ltd
                         IPR2015-01456, IPR2015-01457
              Matter:    Inter Partes Review, media gateways
              Project:   Two declarations to support Patent Owner responses, two depositions

       L54. 2016         Haynes and Boone, LLP
            Case:        Cox Communications, Inc. v. AT&T Intellectual Property I, II, LP
                         IPR2015-01187, IPR2015-01227, IPR2015-01273, IPR2015-01536
              Matter:    Inter Partes Review, cable networks
              Project:   Four declarations to support Patent Owner responses, four depositions

       L55. 2016         Mayer Brown LLP
            Case:        Odyssey Wireless v. Motorola Mobility LLC
                         Eastern district of North Carolina, Western division, Case No. 5:14-
                         cv-491-D
                         Southern district of California, Case No. 3:15-cv-01741-H-RBB
              Matter:    Patent infringement, LTE
              Project:   Source code review, non-infringement consulting

       L56. 2016         Cooley LLP; Finnegan LLP
            Case:        Saint Lawrence Comm. LLC v. Motorola Mobility LLC, ZTE (USA)
                         Inc., et al.
                         Eastern district of Texas, Marshal division, Case No. 2:15-cv-000351-
                         JRG, Case No. 2:15-cv-000349-JRG
              Matter:    Patent infringement, speech compression, coding and decoding
              Project:   Invalidity expert report, expert report regarding AMR-WB standard,
                         expert report regarding Opus and Silk, supplemental expert report
                         regarding invalidity, two-day depositions, jury trial testimony for
                         Motorola




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       L57. 2015         Sidley Austin LLP
            Case:        Evolved Wireless, LLC v. Microsoft Corp, et al.
                         District of Delaware, Case No. 15-cv-546
              Matter:    Patent infringement, LTE
              Project:   Prior art and invalidity consulting

       L58. 2015         McKool Smith
            Case:        Optis Wireless Technology, LLC and PanOptis Patent Management,
                         LLC. v. ZTE Corporation and ZTE (USA) Inc.
                         Eastern district of Texas, Marshal division, Case No. 2:15-cv-300-
                         JRG-RSP
              Matter:    Patent infringement, cellular messages and multimedia attachments
              Project:   Source code review, claim construction, declaration

       L59. 2015         Fish & Richardson, P.C.
            Case:        Saint Lawrence Comm. LLC v. LG Elec., Inc. et al.
                         Eastern district of Texas, Marshal division, Case No. 2:14-cv-1055-
                         JRG
              Matter:    Patent infringement, speech compression, coding and decoding
              Project:   Invalidity expert report

       L60. 2015         Finnegan Henderson Farabow Garrett & Dunner LLP
            Case:        LG Electronics, Inc. v. Cellular Communications Equipment LLC
                         IPR2016-00178
              Matter:    Inter Partes Review, LTE
              Project:   Declaration to support IPR petition

       L61. 2015         McKool Smith
            Case:        AT&T, et al. v. Cox Communication, Inc., et al.
                         District of Delaware, Case No. 14-1106-GMS
              Matter:    Patent infringement, cable networks
              Project:   Claim construction, declaration

       L62. 2015         McKool Smith
            Case:        Ericsson Inc., et al. v. TCL Communication, et al.
                         Eastern district of Texas, Marshal division, Case No. 2:15-cv-00011-
                         RSP
              Matter:    Patent infringement, wireless devices and systems
              Project:   Source code review, claim construction, declaration, infringement
                         expert report, validity expert report, two-day depositions

       L63. 2015         Foley & Lardner LLP
            Case:        Kyocera Communications, Inc. v. Cellular Communications
                         Equipment LLC
                         IPR2015-01559, IPR2015-01564
              Matter:    Inter Partes Review, LTE, power control, emergency notification

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              Project:   Two declarations to support two IPR petitions

       L64. 2015         Fish & Richardson, P.C.
            Case:        Fairfield Industries Inc. v. Wireless Seismic, Inc.
                         Southern district of Texas, Case No. 4:14-cv-02972-KPE
              Matter:    Patent infringement, wireless sensor networks
              Project:   Non-infringement expert report

       L65. 2015         Quinn Emanuel Urquhart & Sullivan, LLP
            Case:        GENBAND US, LLC v. Metaswitch Networks Ltd, et al.
                         Eastern district of Texas, Marshal division, Case No. 2:14-cv-33-JRG-
                         RSP
              Matter:    Patent infringement, Internet protocols and VoIP
              Project:   Expert report regarding essentiality, non-infringement expert report,
                         rebuttal expert report regarding non-practice, supplemental rebuttal
                         expert report, three-day depositions, jury trial testimony

       L66. 2015         Duane Morris LLP; Foley & Lardner LLP
            Case:        Mobile Telecommunications Technologies, LLC v. Leap Wireless
                         International, Cricket Communications, Inc.
                         Eastern district of Texas, Marshal division, Case No. 2:13-cv-00885-
                         RSP
              Matter:    Patent infringement, OFDM and MIMO
              Project:   Non-infringement expert report, deposition

       L67. 2015         Hogan Lovells US LLP; Kenyon & Kenyon LLP
            Case:        One-E-Way v. Beats Electronics, LLC, Sony Corporation, et al.
                         In the Matter of Certain Wireless Headsets, ITC Investigation No.
                         337-TA-943
              Matter:    Patent infringement, wireless communication
              Project:   Claim construction, declaration

       L68. 2015         McKool Smith
            Case:        Solocron Media, LLC v. AT&T Inc., et al.
                         Eastern district of Texas, Marshal division, Case No. 2:13-cv-1059-
                         JRG
              Matter:    Patent infringement, ringtone download
              Project:   Claim construction, invalidity expert report

       L69. 2015         EIP US LLP
            Case:        Good Technology Software, Inc. v. Mobile Iron, Inc.
                         IPR2015-00833, IPR2015-00836, IPR2015-01090
              Matter:    Inter Partes Review, software management in wireless devices
              Project:   Three declarations to support three IPR petitions



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       L70. 2015         McKool Smith
            Case:        AirWatch LLC v. Good Technology Corp
                         Northern district of Georgia, Case No. 1:14-cv-02281-SCJ
              Matter:    Patent infringement, software management in wireless devices
              Project:   Claim construction, declaration

       L71. 2015         Simpson Thacher & Bartlett LLP
            Case:        IXI Mobile (R&D) Ltd. et al. v. Apple Inc.
                         Southern district of New York, Case No. 14-cv-7594-RJS
              Matter:    Patent infringement, PDA and Bluetooth
              Project:   Invalidity consulting

       L72. 2014         Bragalone Conroy PC
            Case:        Global Tel*Link Corporation v. Securus Technologies, Inc.
                         IPR2014-00785, IPR2014-00810, IPR2014-00824, IPR2014-00825,
                         IPR2014-01278, IPR2014-01282, IPR2014-01283
              Matter:    Inter Partes Review, VoIP call monitoring and recording, allocating
                         telecommunication resources and information systems
              Project:   Seven declarations to support seven Patent Owner responses, five
                         depositions

       L73. 2014         Orrick, Herrington & Sutcliffe LLP
            Case:        Shopkick, Inc. v. Novitaz, Inc.
                         IPR2015-00277, IPR2015-00278
              Matter:    Inter Partes Review, wireless customer service management
              Project:   Two declarations to support two IPR petitions

       L74. 2014         Paul Hastings LLP
            Case:        Cellular Communications Equipment LLC v. AT&T, et al.
                         Eastern district of Texas, Tyler division, Case No. 6:13-cv-507-LED
                         (Lead Case for Consolidation)
              Matter:    Patent infringement, 3G cellular communication
              Project:   Claim construction, declaration

       L75. 2014         Baker Botts LLP
            Case:        Orlando Communications LLC v. AT&T, et al.
                         M.D. Florida, Case No. 6:14-cv-01021
              Matter:    Patent infringement, 3G/4G cellular communication
              Project:   Non-infringement and claim construction consulting

       L76. 2014         EIP US LLP
            Case:        Good Technology Software, Inc. v. AirWatch, LLC
                         IPR2015-00248, IPR2015-00875
              Matter:    Inter Partes Review, software management in wireless devices
              Project:   Two declarations to support two IPR petitions


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       L77. 2014         Bragalone Conroy PC
            Case:        Securus Technologies, Inc. v. Global Tel*Link Corporation
                         IPR2015-00153, IPR2015-00155, IPR2015-00156
              Matter:    Inter Partes Review, VoIP call monitoring and recording
              Project:   Three declarations to support three IPR petitions, two depositions

       L78. 2014         Andrews Kurth LLP
            Case:        Sony Mobile Communications (USA) v. Adaptix Inc.
                         IPR2014-01524, IPR2014-01525
              Matter:    Inter Partes Review, subcarrier selection in LTE
              Project:   Two declarations to support two IPR petitions, deposition

       L79. 2014         Steptoe & Johnson LLP; Baker & McKenzie LLP
            Case:        VTech Communications, Inc. and Uniden America Corporations v.
                         Spherix Incorporated
                         IPR2014-01432
              Matter:    Inter Partes Review, IP telephony
              Project:   Declaration to support IPR petition, deposition, reply declaration,
                         deposition

       L80. 2014         Steptoe & Johnson LLP; Baker & McKenzie LLP
            Case:        Spherix Inc. v. VTech Telecommunications Ltd., et al.
                         Spherix Inc. v. Uniden Corp, et al.
                         Northern district of Texas, Dallas Division, Case No. 3:13-cv-3494
                         and 3:13-cv-3496
              Matter:    Patent infringement, IP telephony
              Project:   Claim construction, declaration, deposition

       L81. 2014         McKool Smith
            Case:        Good Technology Corp. v. MobileIron, Inc.
                         Northern district of California, Case No. 5:12-cv-05826-PSG
              Matter:    Patent infringement, software management in wireless devices
              Project:   Claim construction, three declarations, claim invalidity expert report,
                         non-infringement expert report, deposition, jury trial testimony

       L82. 2014         Lee & Hayes
            Case:        Broadcom Corp. v. Ericsson, Inc.
                         IPR2013-00601, IPR2013-00602, and IPR2013-00636
              Matter:    Inter Partes Review, ARQ protocols
              Project:   Three declarations to support Patent Owner responses, two
                         declarations to support Patent Owner Motion to Amend, deposition,
                         two reply declarations

       L83. 2014         Sidley Austin LLP
            Case:        Adaptix, Inc. v. Huawei Technologies Co., et al.
                         Eastern district of Texas, Case No. 6:13-cv-00438, 439, 440 and 441

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              Matter:    Patent infringement, subcarrier selection in LTE
              Project:   Non-infringement consulting, source code review

       L84. 2014         Finnegan Henderson Farabow Garrett & Dunner LLP
            Case:        Cell and Network Selection LLC v. Huawei Technologies Co., et al.
                         Eastern district of Texas, Case No. 6:13-cv-00404-LED-JDL
              Matter:    Patent infringement, base station selection in LTE
              Project:   Non-infringement consulting

       L85. 2014         Feinberg Day Alberti & Thompson LLP
            Case:        DSS Technology Management, Inc. v. Apple Inc.
                         Eastern district of Texas, Tyler division, Case No. 6:13-cv-00919-JDL
              Matter:    Patent infringement, PDA and Bluetooth
              Project:   Claim construction and invalidity consulting

       L86. 2014         Sheppard Mullin Richter & Hampton LLP
            Case:        Digcom Inc. v. ZTE (USA), Inc.
                         District of Nevada, Case No. 3:13-cv-00178-RCJ-WGC
              Matter:    Patent infringement, cellular communication
              Project:   Claim construction consulting

       L87. 2014         Lott & Fischer
            Case:        Zenith Electronics, LLC, et al. v. Craig Electronics, Inc.
                         Southern district of Florida, Case No. 9:13-cv-80567-DMM/DLB
              Matter:    Patent infringement, HDTV transmission and reception
              Project:   Opening expert report regarding nonessentiality

       L88. 2013         McKool Smith
            Case:        Zenith Electronics, LLC, et al. v. Curtis International Ltd.
                         Southern district of Florida, Case No. 9:13-cv-80568-DMM/DLB
              Matter:    Patent infringement, HDTV transmission and reception
              Project:   Claim construction, declaration, deposition

       L89. 2013         Gibson Dunn
            Case:        Straight Path IP Group v. Sharp Corp. and Sharp Electronics Corp.
                         In the Matter of Certain Point-to-Point Network Communication
                         Devices and Products Containing Same, ITC Investigation No. 337-
                         TA-892
              Matter:    Patent infringement, point-to-point network communication
              Project:   Non-infringement consulting

       L90. 2013         Kilpatrick Townsend & Stockton LLP; Cooley LLP
            Case:        Monec Holding AG v. Motorola Mobility LLC, HTC, et al.
                         District of Delaware, Case No. 1:11-cv-798-LPS-SRF
              Matter:    Patent infringement, displaying books on tablets


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              Project:   Non-infringement expert report for Motorola, non-infringement expert
                         report for HTC, deposition

       L91. 2013         Gartman Law Group
            Case:        Lone Star WiFi LLC v. Legacy Stonebriar Hotel, Ltd; et al.
                         Eastern district Of Texas, Tyler, Case No. 6:12-cv-957
              Matter:    Patent infringement, levels of access in Wi-Fi networks
              Project:   Claim validity consulting

       L92. 2013         White & Case, LLP
            Case:        Nokia Corp and Nokia, Inc. v. HTC Corp and HTC America, Inc.
                         In the Matter of Certain Portable Electronic Communication Devices,
                         Including Mobile Phones and Components Thereof, ITC Investigation
                         No. 337-TA-885
              Matter:    Patent infringement, App download and installation
              Project:   Non-infringement consulting

       L93. 2013         Heim, Payne & Chorush, LLP
            Case:        Rembrandt Wireless v. Samsung Electronics Co., et al.
                         Eastern district of Texas, Marshal, Case No. 2:13-cv-213-JRG-RSP
              Matter:    Patent infringement, Bluetooth
              Project:   Expert report regarding validity, deposition, jury trial

       L94. 2013         Baker Hostetler; Davis Polk & Wardwell LLP
            Case:        Comcast v. Sprint; and Nextel Inc.
                         Eastern district of Pennsylvania, Case No. 2:12-cv-00859-JD
              Matter:    Patent infringement, SMS/MMS in Cellular Networks
              Project:   Infringement expert report, validity expert report, reply expert report,
                         declaration, two-day depositions, jury trial testimony

       L95. 2013         McKool Smith
            Case:        Samsung Electronics America v. Ericsson Inc.
                         In the Matter of Certain Wireless Communications Equipment and
                         Articles Therein, ITC Investigation No. 337-TA-866
              Matter:    Patent infringement, LTE uplink and downlink
              Project:   Prior art research, source code review, claim construction, claim
                         invalidity expert report, non-infringement expert report, ITC hearing
                         testimony

       L96. 2012         DLA Piper US LLP
            Case:        CSR Technology Inc. v. Freescale Semiconductor, Inc.
                         USDC-San Francisco, Case No. 3:12-cv-02619-RS
              Matter:    Patent infringement, radio transceivers
              Project:   Claim construction, declaration



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       L97. 2012         Fish & Richardson P.C.
            Case:        GPNE Corp. v. Apple, Inc.; et al.
                         USDC-ND California, Case No. 5:12-cv-02885-LHK
              Matter:    Patent infringement, resource allocation in wireless networks
              Project:   Prior art research consulting

       L98. 2012         Polsinelli Shughart PC
            Case:        Single Touch Interactive, Inc. v. Zoove Corporation
                         Northern district of California, Case No. 3:12-cv-00831-JSC
              Matter:    Patent infringement, abbreviated dialing, information delivery
              Project:   Claim construction, Markman hearing testimony, two declarations

       L99. 2012         K & L Gates
            Case:        EON Corp. IP Holdings, LLC v. Novatel Wireless, Inc.; et al.
                         DC-Tyler, Texas, Case No. 6:11-cv-00015-LED-JDL
              Matter:    Patent infringement, wireless modem and 3G services
              Project:   Non-infringement expert report, deposition

       L100.2012         Simpson Thacher & Bartlett LLP
            Case:        CSR Technology, Inc. v. Bandspeed, Inc.
                         Western district of Texas, Case No. 1:12-cv-297-LY
              Matter:    Patent infringement, packet identification in 2.4 GHz and 5 GHz
              Project:   Source code review, Markman hearing testimony, infringement expert
                         report

       L101.2012         Sheppard Mullin Richter & Hampton LLP
            Case:        Wi-LAN v. HTC America, Inc., et al.
                         Eastern district of Texas, Case No. 6:10-cv-521-LED
              Matter:    Patent infringement, CDMA, Orthogonal Codes
              Project:   Source code review, non-infringement expert report, deposition, jury
                         trial testimony

       L102.2012         Dechert LLP
            Case:        Hitachi v. TPV and Vizio, Inc.; and Vizio v. Hitachi, LTD.
                         Eastern district of Texas, Case No. 2:10-cv-260
              Matter:    Patent infringement, HD television transmission and reception
              Project:   Prior art research, claim invalidity consulting

       L103.2012         Fish & Richardson P.C.; Covington & Burling; Alston & Bird;
                         Brinks Hofer Gilson & Lione
              Case:      InterDigital Commc’n, LLC v. Huawei Tech. Co. LTD; LG
                         Electronics, Inc.; Nokia, Inc.; and ZTE (USA) Inc.
                         Certain Wireless Devices With 3G Capabilities and Components
                         Thereof, ITC Investigation No. 337-TA-800
              Matter:    Patent infringement, channel coding in UMTS, HSDPA
              Project:   Non-infringement consulting

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       L104.2012         Fish & Richardson P.C.; Covington & Burling; Alston & Bird;
                         Brinks Hofer Gilson & Lione
              Case:      InterDigital Commc’n, LLC v. Huawei Tech. Co. LTD; LG
                         Electronics, Inc.; Nokia, Inc.; and ZTE (USA) Inc.
                         District of Delaware, Case No. 1:11-cv-00654-UNA
              Matter:    Patent infringement, channel coding in UMTS, HSDPA
              Project:   Non-infringement consulting

       L105.2011         O’Melveny & Myers LLP
            Case:        MobileMedia Ideas, LLC v. Apple, Inc.
                         District of Delaware, Case No. 1:10-cv-00258-SLR-MPT
              Matter:    Patent infringement, voice control, call rejection in mobile phones
              Project:   Source code review, prior art research, declaration, claim invalidity
                         expert report, non-infringement expert report, deposition, jury trial
                         testimony

       L106.2011         Wilmer Cutler Pickering Hale and Dorr
            Case:        Apple, Inc. v. Samsung Electronics Co.
                         Northern district of California, Case No. 5:11-cv-01846-LHK
              Matter:    Patent infringement, channel coding in CDMA, E-AGCH, TFCI
              Project:   Prior art research, claim construction consulting

       L107.2011         Weil, Gotshal & Manges LLP
            Case:        Vizio, Inc. v. Renesas Electronics America, Inc.
                         ITC Investigation No. 337-TA-789
              Matter:    Patent infringement, HD television transmission and reception
              Project:   Claim invalidity consulting

       L108.2011         Shapiro Cohen
            Case:        TenXc Wireless Inc. v. Andrew LLC
                         TenXc Wireless Inc. v. Mobi Antenna Technologies Ltd.
              Matter:    Patent infringement, antenna design, sectorized cellular network
              Project:   Claim validity consulting

       L109.2010         Fish & Richardson P.C.
            Case:        Vizio, Inc., v. LG Electronics, Inc.
                         ITC Investigation No. 337-TA-733
              Matter:    Patent infringement, HD television transmission and reception
              Project:   Claim charts, claim construction expert report, deposition

       L110.2010         Fish & Richardson P.C.
            Case:        Vizio, Inc., v. LG Electronics, Inc.
                         District of Maryland, Case No. 1:09-cv-1481-BEL
              Matter:    Patent infringement, HD television transmission and reception
              Project:   Claim charts, claim construction expert report, deposition

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       L111.2008         Kaye Scholer LLP
            Case:        eBay Inc. v. IDT.
                         Western district of Arkansas, Case No. 4:08-cv-4015-HFB
              Matter:    Patent infringement, long distance communication using Internet
              Project:   Prior art research, claim construction consulting

       L112.2008         Simpson Thacher & Bartlett LLP
            Case:        Commil USA, LLC v. Cisco Systems, Inc.
                         Eastern district of Texas, Case No. 2:07-cv-00341-DF-CE
              Matter:    Patent infringement, two-level wireless protocol
              Project:   Prior art research

       L113.2006         Woodfill and Pressler
            Case:        Charles Russell v. Interinsurance Exchange of the Auto Club
                         Harris County, Texas, Case No. 2005-19706
              Matter:    House fire and insurance claim
              Project:   Determining user location using cellular phone records, expert report,
                         deposition, jury trial testimony

 Consulting History
  From:       1/2013     Heim, Payne & Chorush, LLP
  To:         3/2013     Houston, TX
              Duties:    Analyze patents on wireless technologies.

  From:       4/2007     Collin County Sheriff’s Office
  To:         5/2007     McKinney, TX
              Duties:    Analyzed cellular record data and determined user location in a double-
                         homicide investigation.

  From:       4/2004     Allegiant Integrated Solutions
  To:         5/2004     Fort Worth, TX
              Duties:    Designed and developed an integrated set of tools for fast deployment
                         of wireless networks. The tools optimize the placement of Access
                         Points and determine their respective channel allocations to minimize
                         interference and maximize capacity.

  From:       3/2002     Input/Output Incorporated
  To:         4/2002     New Orleans, LA
              Duties:    Designed and implemented an algorithm in MATLAB for optimizing
                         the frequency selection process used by sonar for scanning the bottom
                         of the ocean.

  From:       6/1998     Teleware Corporation
  To:         7/1998     Seoul, South Korea

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              Duties:     Designed and developed a software package for analyzing the capacity
                          in a CDMA network to maximize the number of subscribers.

 Employment History

  From:       1/2015    University of North Texas
  To:         Present   Denton, TX
              Position: Associate Chair of Graduate Studies Department of Computer Science
                        and Engineering
                        In charge of all administrative duties related to the Master’s and Ph.D.
                        programs in the department.

  From:       5/2008    University of North Texas
  To:         Present   Denton, TX
              Position: Tenured Associate Professor Department of Computer Science and
                        Engineering
                        Conducting research on cellular networks and wireless sensor networks.
                        Teaching wireless communication courses. Advising graduate and
                        undergraduate students.

  From:       9/2002    University of North Texas
  To:         5/2008    Denton, TX
              Position: Assistant Professor Department of Computer Science and Engineering
                        Conducting research on WCDMA/UMTS wireless networks. Teaching
                        wireless communication and computer architecture courses. Advising
                        graduate and undergraduate students.

  From:       1/2002    University of New Orleans
  To:         8/2002    New Orleans, LA
              Position: Assistant Professor Department of Electrical Engineering
                        Designed and taught two new courses “Computer Systems Design I and
                        II”. Developed a Computer Engineering Curriculum with strong
                        hardware-design emphasis. Formed a wireless research group. Advised
                        graduate and undergraduate students.

  From:       10/2000 Comspace Corporation
  To:         12/2001 Coppell, TX
              Position: Senior Systems Engineer
                        Designed, coded (in Matlab), and simulated Viterbi decoding, Turbo coding,
                        trellis coded modulation (TCM), and Reed-Muller codes. Optimized soft
                        decision parameters and interleavers for additive white Gaussian and
                        Rayleigh faded channels. Extended the control and trunking of push-to-talk
                        Logic Trunked Radio (LTR) to include one-to-one and one-to-many voice
                        and data messaging.



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  From:       8/1996    MinMax Corporation
  To:         8/2000    Saint Louis, MO
              Position: Research Associate
                        Designed software packages that provide the tools to flexibly allocate
                        capacity in a CDMA network and maximize the number of subscribers.
                        Analyzed and simulated different audio compression schemes.
                        Validated, simulated (logical and timing), and developed the hardware
                        architecture for an ATM switch capable of channel group switching.

  From:       8/1994    Washington University
  To:         8/2000    Saint Louis, MO
              Position: Research and Teaching Assistant
                        Taught, consulted, and graded Circuit Analysis at the undergraduate
                        level and Network Design at the graduate level.

 Publications

 Conference Proceedings

     C1. U.K. Dey, R. Akl, R. Chataut, “High Throughput Vehicular Communication
         Using Spatial Multiplexing MIMO,” IEEE CCWC 2020 The 10th Annual
         Computing and Communication Workshop and Conference, January 2020, paper
         no. 1570613408, 6 pgs.

     C2. R. Chataut, R. Akl, M. Robaei, “Accelerated and Preconditioned Refinement of
         Gauss-Seidel Method for Uplink Signal Detection in 5G Massive MIMO
         Systems,” IEEE CCWC 2020 The 10th Annual Computing and Communication
         Workshop and Conference, January 2020, paper no. 1570605343, 7 pgs.

     C3. M. Robaei, R. Akl, “Examining Spatial Consistency for Millimeter-Wave
         Massive MIMO Channel Estimation in 5G-NR,” IEEE ICCE 2020 The 38th
         International Conference on Consumer Electronics, January 2020, paper no.
         1570596880, 6 pages.

     C4. R. Chataut, R. Akl, “Channel Gain Based User Scheduling for 5G Massive MIMO
         Systems,” IEEE HONET-ICT 2019 The 16th International Conference on Smart
         Cities: Improving Quality of Life Using ICT & IoT and AI, October 2019, paper
         no. 1570565594, 5 pgs.

     C5. M. Robaei, R. Akl, “Time-Variant Broadband mmWave Channel Estimation
         Based on Compressed Sensing,” IEEE UEMCON 2019 The 10th Annual
         Ubiquitous Computing, Electronics & Mobile Communication Conference,
         October 2019, paper no. 1570577430, 7 pages.

     C6. R. Chataut, R. Akl, U. Dey, “Least Square Regressor Selection Based Detection
         for Uplink 5G Massive MIMO Systems,” IEEE WAMICON 2019 The 20th Annual

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             IEEE Wireless and Microwave Technology Conference, April 2019, paper no.
             1570524727, 6 pgs.

     C7. R. Chataut, R. Akl, “Huber Fitting Based ADMM Detection for Uplink 5G
         Massive MIMO Systems,” IEEE UEMCON 2018 The 9th Annual Ubiquitous
         Computing, Electronics & Mobile Communication Conference, November 2018,
         paper no. 1570492416, 5 pgs.

     C8. R. Chataut, R. Akl, “Efficient and Low Complex Uplink Detection for 5G Massive
         MIMO Systems,” IEEE WAMICON 2018 The 19th Annual Wireless and
         Microwave Technology Conference, April 2018, paper no. 1570431593, 6 pgs.

     C9. R. Chataut, R. Akl, “Optimal Pilot Reuse Factor Based on User Environments in
         5G Massive MIMO,” IEEE CCWC 2018 The 8th Annual Computing and
         Communication Workshop Conference, January 2018, paper no. 1570413394, 6
         pgs.

     C10. S. Alotaibi, R. Akl, “Radio Resource Management in LTE Femtocell Networks,”
          IEEE NCA ’17 International Symposium on Network Computing and Applications,
          November 2017, paper no. 117, 5 pgs.

     C11. U. Sawant, R. Akl, “Subcarrier Allocation in LTE Network Deployment with
          Mobility,” IEEE UEMCON 2017 8th Annual Ubiquitous Computing, Electronics
          and Mobile Communication Conference, October 2017, paper no. 1570349184, 8
          pgs.

     C12. S. Alotaibi, R. Akl, “Packet Scheduling Bandwidth Type-Based Mechanism for
          LTE,” IEEE UEMCON 2017 8th Annual Ubiquitous Computing, Electronics and
          Mobile Communication Conference, October 2017, paper no. 1570394639, 6 pgs.

     C13. S. Alotaibi, R. Akl, “Dynamic Fractional Frequency Reuse (FFR) Scheme for
          Two-Tier Network in LTE,” IEEE UEMCON 2017 8th Annual Ubiquitous
          Computing, Electronics and Mobile Communication Conference, October 2017,
          paper no. 1570394969, 6 pgs.

     C14. U. Sawant, R. Akl, “Evaluation of Adaptive and Non Adaptive LTE Fractional
          Frequency Reuse Mechanisms,” IEEE WOCC 2017 The 26th Annual Wireless and
          Optical Communications Conference, April 2017, paper no. 1570341174, 6 pgs.

     C15. S. Alotaibi, R. Akl, “Range-Based Scheme for Adjusting Transmission Power for
          Femtocells in Co-Channel Deployment,” IEEE WTS 2017 The 16th Annual
          Wireless Telecommunications Symposium, April 2017, paper no. 1570334744, 5
          pgs.

     C16. U. Sawant, R. Akl, “A Novel Metric to Study the Performance of Sectorized
          Fractional Frequency Reuse Techniques in LTE,” IEEE WTS 2017 The 16th

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             Annual Wireless Telecommunications Symposium, April 2017, paper no.
             1570338498, 7 pgs.

     C17. S. Alotaibi, R. Akl, “Dynamic Frequency Partitioning Scheme for LTE HetNet
          Networks Using Fractional Frequency Reuse,” IEEE WCNC ’17 Wireless
          Communications and Networking Conference, March 2017, paper no.
          1570332420, 5 pgs., demo and poster.

     C18. U. Sawant, R. Akl, “Performance Evaluation of Network Productivity for LTE
          Heterogenous Networks with Reward-Penalty Weights Assessment,” IEEE
          CCWC 2017 The 7th Annual Computing and Communication Workshop
          Conference, January 2017, paper no. 1570328396, 6 pgs.

     C19. S. Alotaibi, R. Akl, “Self-Adjustment Downlink Transmission Power for
          Femtocells in Co-Channel Deployment in Heterogeneous Networks,” IEEE
          CCWC 2017 The 7th Annual Computing and Communication Workshop
          Conference, January 2017, paper no. 1570326815, 6 pgs.

     C20. U. Sawant, R. Akl, “Performance Evaluation of Sectorized Fractional Frequency
          Reuse Techniques Using Novel Metric,” IEEE ISCC 2016 The Twenty-First IEEE
          Symposium on Computers and Communications, June 2016, paper no.
          1570275270, 7 pgs.

     C21. R. Tidwell, S. Akumalla, S. Karlaputi, R. Akl, K. Kavi, and D. Struble,
          “Evaluating the Feasibility of EMG and Bend Sensors for Classifying Hand
          Gestures,” 1st International Conference on Multimedia and Human Computer
          Interaction, July 2013, paper no. 63, 8 pgs.

     C22. R. Akl, K. Pasupathy, and M. Haidar, “Anchor Nodes Placement for Effective
          Passive Localization,” 2011 IEEE International Conference on Selected Topics in
          Mobile and Wireless Networks (iCOST), October 2011, paper no. 1569490799, pp.
          127 - 132.

     C23. R. Akl, P. Kadiyala, and M. Haidar, “Non-Uniform Grid-Based Routing in Sensor
          Networks”, 9th IEEE Malaysia International Conference on Communications,
          December 2009, paper no. 1569243649, pp. 536 - 540.

     C24. M. Haidar, M. Al-Rizzo, Y. Chan, R. Akl, M. Bouharras, “Throughput Validation
          of an Advanced Channel Assignment Algorithm in IEEE 802.11 WLAN”, ICCSN
          2009 – International Conference on Communication Software and Networks,
          February 2009, paper no. P385, pp. 801 - 806.

     C25. R. Akl and D. Keathly, “Robocamp: Encouraging Young Women to Embrace
          STEM,” 4th Annual TETC Best Practices Conference, February 2009, 13 pgs.



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     C26. M. Haidar, R. Ghimire, M. Al-Rizzo, R. Akl, Y. Chan, “Channel Assignment in
          an IEEE 802.11 WLAN Based on Signal-to-interference Ratio”, IEEE CCECE –
          Canadian Conference on Electrical and Computer Engineering: Communications
          and Networking, May 2008, paper no. 1569092894, pp. 1169 - 1174.

     C27. H. Al-Rizzo, M. Haidar, R. Akl, and Y. Chan, “Enhanced Channel Assignment
          and Load Distribution in IEEE 802.11 WLANs,” IEEE International Conference
          on Signal Processing and Communication, November 2007, paper no.
          1569042132, pp. 768 - 771.

     C28. R. Akl and Y. Saravanos, “Hybrid Energy-Aware Synchronization Algorithm in
          Wireless Sensor Networks,” 18th Annual IEEE International Symposium on
          Personal, Indoor and Mobile Radio Communications, September 2007, paper no
          692, 5 pgs.

     C29. M. Haidar, R. Akl, and H. Al-Rizzo, “Channel Assignment and Load Distribution
          in a Power-Managed WLAN,” 18th Annual IEEE International Symposium on
          Personal, Indoor and Mobile Radio Communications, September 2007, paper no.
          463, 5 pgs.

     C30. D. Keathly and R. Akl, “Attracting and Retaining Women in Computer Science
          and Engineering: Evaluating the Results,” Proceedings of American Society for
          Engineering Education: ASEE Annual Conference, June 2007, paper no. AC
          2007-1229, 10 pgs.

     C31. M. Haidar, R. Akl, H. Al-Rizzo, Y. Chan, R. Adada, “Optimal Load Distribution
          in Large Scale WLAN Networks Utilizing a Power Management Algorithm,”
          Proceedings of IEEE Sarnoff Symposium, May 2007, 5 pgs.

     C32. R. Dantu, P. Kolan, R. Akl, and K. Loper, “Classification of Attributes and
          Behavior in Risk Management Using Bayesian Networks,” Proceedings of IEEE
          Intelligence and Security Informatics Conference, May 2007, pp. 71-74.

     C33. R. Akl and A. Arepally, “Dynamic Channel Assignment in IEEE 802.11
          Networks,” Proceedings of IEEE Portable 2007: International Conference on
          Portable Information Devices, March 2007, pp 309-313.

     C34. R. Akl and U. Sawant, “Grid-based Coordinated Routing in Wireless Sensor
          Networks,” Proceedings of IEEE CCNC 2007: Consumer Communications and
          Networking Conference, January 2007, pp. 860-864.

     C35. R. Akl and A. Arepally, “Simulation of Throughput in UMTS Networks with
          Different Spreading Factors,” Proceedings of IEEE VTC Fall 2006: Vehicular
          Technology Conference, September 2006, pp. C1-5.



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     C36. A. Alhabsi, H. Al-Rizzo, and R. Akl, “Parity Assisted Decision Making for QAM
          Modulation,” International Conference on Mobile Computing and Wireless
          Communications, September 2006, paper no. 1568988776, 5 pgs.

     C37. R. Akl and R. Garlick, “Retention and Recruitment of Women in Computer
          Engineering,” ICEE 2006: International Conference on Engineering Education,
          July 2006, paper no. 3318, 5 pgs.

     C38. R. Garlick and R. Akl, “Intra-Class Competitive Assignments in CS2: A One-
          Year Study,” ICEE 2006: International Conference on Engineering Education,
          July 2006, paper no. 3325, 5 pgs.

     C39. R. Akl, D. Tummala, and X. Li, “Indoor Propagation Modeling at 2.4 GHz for
          IEEE 802.11 Networks,” WNET 2006: Wireless Networks and Emerging
          Technologies, July 2006, paper no. 510-014, 6 pgs.

     C40. P. Chen, K. Kavi, and R. Akl, “Performance Enhancement by Eliminating
          Redundant Function Execution,” Proceedings of IEEE: 39th Annual Simulation
          Symposium, April 2006, pp. 143-150.

     C41. R. Akl and S. Nguyen, “Capacity Allocation in Multi-cell UMTS Networks for
          Different Spreading Factors with Perfect and Imperfect Power Control,”
          Proceedings of IEEE CCNC 2006: Consumer Communications and Networking
          Conference, January 2006, vol. 2, pp. 928-932.

     C42. W. Li, K. Kavi, and R. Akl, “An Efficient Non-Preemptive Real-Time
          Scheduling,” 18th International Conference on Parallel and Distributed
          Computing Systems, Las Vegas, NV, September 2005, pp. 154-160.

     C43. S. Nguyen and R. Akl, “Approximating User Distributions in WCDMA Networks
          Using 2-D Gaussian,” CCCC20T 05: International Conference on Computing,
          Communications, and Control Technologies, July 2005, 5 pgs.

     C44. R. Akl and S. Park, “Optimal Access Point Selection and Traffic Allocation in
          IEEE 802.11 Networks,” Proceedings of 9th World Multiconference on Systemics,
          Cybernetics and Informatics (WMSCI 2005): Communication and Network
          Systems, Technologies and Applications, July 2005, vol. 8, pp. 75-79.

     C45. R. Akl, M. Naraghi-Pour, M. Hegde, “Throughput Optimization in Multi-Cell
          CDMA Networks,” IEEE WCNC 2005 - Wireless Communications, and
          Networking Conference, March 2005, vol. 3, pp. 1292-1297.

     C46. R. Akl, “Subscriber Maximization in CDMA Cellular Networks,” Proceedings of
          CCCT 04: International Conference on Computing, Communications, and
          Control Technologies, August 2004, vol. 3, pp. 234-239.


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     C47. R. Akl and A. Parvez, “Global versus Local Call Admission Control in CDMA
          Cellular Networks,” Proceedings of CITSA 04: Communications, Information and
          Control Systems, Technologies and Applications, July 2004, vol. 2, pp. 283-288.

     C48. R. Akl and A. Parvez, “Impact of Interference Model on Capacity in CDMA
          Cellular Networks,” Proceedings of SCI 04: Communication and Network
          Systems, Technologies and Applications, July 2004, vol. 3, pp. 404-408. Selected
          as best paper of those presented in the session: Tele-Communication Systems,
          Technologies and Application II.

     C49. R.G. Akl, M.V. Hegde, M. Naraghi-Pour, P.S. Min, “Call Admission Control
          Scheme for Arbitrary Traffic Distribution in CDMA Cellular Systems,” IEEE
          Wireless Communications and Networking Conference, September 2000, vol. 1,
          pp. 465-470.

     C50. R.G. Akl, M.V. Hegde, M. Naraghi-Pour, P.S. Min, “Cell Placement in a CDMA
          Network,” IEEE Wireless Communications and Networking Conference,
          September 1999, vol. 2, pp. 903-907.

     C51. R.G. Akl, M.V. Hegde, P.S. Min, “Effects of Call Arrival Rate and Mobility on
          Network Throughput in Multi-Cell CDMA,” IEEE International Conference on
          Communications, June 1999, vol. 3, pp. 1763-1767.

     C52. R.G. Akl, M.V. Hegde, M. Naraghi-Pour, P.S. Min, “Flexible Allocation of
          Capacity in Multi-Cell CDMA Networks,” IEEE Vehicular Technology
          Conference, May 1999, vol. 2, pp. 1643-1647.

 Journal Publications

     J1.     S. Alotaibi, R. Akl, “Range-Based Scheme for Adjusting Transmission Power of
             Femtocell in Co-Channel Deployment”, International Journal of Interdisciplinary
             Telecommunications and Networking, IJITN Vol. 10, No. 4, pgs. 14-24, 2018.

     J2.     U. Sawant, R. Akl, “Adaptive and Non Adaptive LTE Fractional Frequency Reuse
             Mechanisms Mobility Performance”, Advances in Science, Technology and
             Engineering Systems Journal, ASTES Vol. 3, No. 3, 02-11, 11 pgs., 2018.

     J3.     M. Haidar, H.M. Al-Rizzo, R. Akl, and Z. Elbazzal, “The Effect of an Enhanced
             Channel Assignment Algorithm in an IEEE 802.11 WLAN,” World Scientific and
             Engineering Academy and Society Transactions on Communications, WSEAS,
             Vol. 8, Issue 12, December 2009.

     J4.     R. Akl, P. Kadiyala, and M. Haidar, “Non-Uniform Grid-Based Coordinated
             Routing in Wireless Sensor Networks”, Journal of Sensors, article ID 491349,
             volume 2009, 11 pages.


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     J5.     M. Haidar, M. Al-Rizzo, Y. Chan, R. Akl, “User-Based Channel Assignment
             Algorithm in a Load-Balanced IEEE 802.11 WLAN”, International Journal of
             Interdisciplinary Telecommunications & Networking (IJITN), April-June 2009,
             1(2), pp. 66-81.

     J6.     R. Akl, D. Keathly, and R. Garlick, “Strategies for Retention and Recruitment of
             Women and Minorities in Computer Science and Engineering,” iNEER Special
             Volume: Innovations 2007- World Innovations in Engineering Education and
             Research, 9 pgs., 2007.

     J7.     R. Garlick and R. Akl, “Motivating and Retaining CS2 Students with a
             Competitive Game Programming Project,” iNEER Special Volume: Innovations
             2007- World Innovations in Engineering Education and Research, 9 pgs., 2007.

     J8.     R. Akl and S. Nguyen, “UMTS Capacity and Throughput Maximization for
             Different Spreading Factors,” Journal of Networks, July 2006, vol. 1, issue 3, pp.
             40-49. ISSN: 1796-2056

     J9.     W. Li, K. Kavi, and R. Akl, “A Non-preemptive Scheduling Algorithm for Soft
             Real-time Systems,” Journal of Computer and Electrical Engineering, 2006, vol.
             32, 18 pgs. ISSN: 0045-7906

     J10. R. Akl, A. Parvez, and S. Nguyen, “Effects of Interference on Capacity in Multi-
          Cell CDMA Networks,” Journal of Systemics, Cybernetics and Informatics, 2006,
          vol. 3, no. 1, p825612, 7 pgs. ISSN: 1690-4524

     J11. R.G. Akl, M. Hegde and M. Naraghi-Pour, “Mobility-based CAC Algorithm for
          Arbitrary Traffic Distribution in CDMA Cellular Systems,” IEEE Transactions on
          Vehicular Technology, March 2005, vol. 54, no. 2, pp. 639-651.

     J12. R.G. Akl, M.V. Hegde, M. Naraghi-Pour, P.S. Min, “Multi-Cell CDMA Network
          Design,” IEEE Transactions on Vehicular Technology, May 2001, vol. 50, no. 3,
          pp. 711-722.

 Technical Papers

     T1. J. Williams, R. Akl, et al, “Flight Control Subsystem,” The Eagle Feather, Special
         Section: Undergraduate Research Initiative in Engineering, University of North
         Texas, Vol. 7, 2010.

     T2. R.G. Akl, M.V. Hegde, A. Chandra, P.S. Min, “CDMA Capacity Allocation and
         Planning,” Technical Document, Washington University Department of Electrical
         Engineering WUEE-98, April 1998.

 Book Chapters


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     B1. R. Akl, Y. Saravanos, and M. Haidar, “Chapter 18: Hybrid Approach for Energy-
         Aware Synchronization in Sensor Networks,” Sustainable Wireless Sensor
         Networks, December 2010, pgs. 413-429, ISBN: 978-953-307-297-5.

     B2. K. Kavi, R. Akl and A. Hurson, “Real-Time Systems: An Introduction and the
         State-of-the-Art,” Encyclopedia of Computer Science and Engineering, John
         Wiley & Sons, Volume 4, January 2009, pgs. 2369-2377.

     B3. R. Akl and K. Kavi, “Chapter 12: Modeling and Analysis using Computational
         Tools,” Introduction to Queuing Theory: Modeling and Analysis, Birkhauser
         Boston, December 2008, pgs. 295-320.

 Technical Presentations

     P1. “Bio-Com Project,” Raytheon, Richardson TX, May 2012, (invited).

     P2. “Bio-Com Project,” Net-Centric Software and Systems I/UCRC Meeting, Denton
         TX, December 2011, (invited).

     P3. “Student Outreach Report: Robocamp,” College of Engineering Advisory Board
         Meeting, Denton TX, May 2011, (invited).

     P4. “Robocamp: Encouraging Young Women to Embrace STEM,” 4th Annual TETC
         Best Practices Conference, Austin TX, February 2009, (invited).

     P5.     “Self-Configuring Wireless MEMS Network (demo),” Southern Methodist
             University, Dallas TX, January 2008, (invited).

     P6. “Energy-aware Routing and Hybrid Synchronization in Sensor Networks,”
         Southern Methodist University, Dallas TX, September 2007, (invited).

     P7. “Retention and Recruitment of Women in Computer Engineering,” ICEE 2006:
         International Conference on Engineering Education, Puerto Rico, July 2006,
         (refereed).

     P8. “Capacity Allocation in Multi-cell UMTS Networks for Different Spreading
         Factors with Perfect and Imperfect Power Control,” IEEE CCNC 2006: Consumer
         Communications and Networking Conference, Las Vegas, NV, January 2006,
         (refereed).

     P9. “Research, Teaching, and Outreach,” CSE Advisory Council Meeting, UNT
         Research Park, Denton, TX, December 2005, (invited).

     P10. “Wi-Fi and WCDMA Network Design,” University of Arkansas, Little Rock, AR,
          April 2005, (invited).


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     P11. “Wi-Fi and WCDMA Network Design,” Southern Methodist University, Dallas,
          TX, March 2005, (invited).

     P12. “Current Research in Wireless at UNT,” Nortel Networks, Richardson, TX,
          October 2004, (invited).

     P13. “Subscriber Maximization in CDMA Cellular Networks,” International
          Conference on Computing, Communications, and Control Technologies, Austin,
          TX, August 2004, (refereed).

     P14. “Global versus Local Call Admission Control in CDMA Cellular Networks,”
          International Conference on Cybernetics and Information Technologies, Systems
          and Applications, Orlando, FL, July 2004, (refereed).

     P15. “Impact of Interference Model on Capacity in CDMA Cellular Networks,” 8th
          World Multi-Conference on Systemics, Cybernetics, and Informatics, Orlando, FL,
          July 2004, (refereed).

     P16. “CDMA Network Design,” IEEE Communications Society – New Orleans
          Chapter, New Orleans, LA, May 2002, (invited).

     P17. “Cell Design to Maximize Capacity in CDMA Networks,” Louisiana State
          University, Baton Rouge, LA, April 2002, (invited).

     P18. “Call Admission Control Scheme for Arbitrary Traffic Distribution in CDMA
          Cellular Systems,” IEEE Wireless Communications and Networking Conference,
          Chicago, IL, September 2000, (refereed).

     P19. “Cell Placement in a CDMA Network,” IEEE Wireless Communications and
          Networking Conference, September 1999, (refereed).

     P20. “Effects of Call Arrival Rate and Mobility on Network Throughput in Multi-Cell
          CDMA,” IEEE International Conference on Communications, June 1999,
          (refereed).

     P21. “Flexible Allocation of Capacity in Multi-Cell CDMA Networks,” IEEE
          Vehicular Technology Conference, May 1999, (refereed).

     P22. “CCAP: A Strategic Tool for Managing Capacity of CDMA Networks,” Teleware
          Co. Ltd., Seoul, South Korea, 1998, (invited).

 Courses Developed

     •    CSCE 5933: LTE Physical Layer Using MATLAB.
          Research issues in the design of LTE physical layer and simulate using MATLAB.
          Topics include modulation and coding, OFDM, channel modeling, MIMO, and link

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          adaption.

     •    CSCE 6590: Advanced Topics in Wireless Communications & Networks: 4G/LTE.
          Research issues in the design of next generation wireless networks: cellular systems,
          medium access techniques, signaling, mobility management, control and
          management for mobile networks, wireless data networks, Internet mobility,
          quality-of-service for multimedia applications, caching for wireless web access, and
          ad hoc networks.

     •    CSCE 5933: Fundamentals of VoIP.
          Fundamentals of VoIP, with emphasis on network infrastructure implementation
          and security. Topics include IP protocol suite, SS7, speech-coding techniques,
          quality of service, session initiation protocol, and security issues.

     •    CSCE 5540: Introduction to Sensor Networks.
          Topics include: design implications of energy (hardware and software), and
          otherwise resource-constrained nodes; network self-configuration; services such as
          routing under network dynamics, localization, time-synchronization and calibration;
          distributed data management, in-network aggregation and collaborative signal
          processing, programming tools and language support.

     •    CSCE 5510. Wireless Communication.
          Point-to-point signal transmission through a wireless channel, channel capacity,
          channel encoding, and multi-user transmissions. First, second, and third generation
          cellular systems, and mobility management.

     •    CSCE 3510. Introduction to Wireless Communication.
          Fundamentals of wireless communications and networking, with emphasis on first,
          second, and third generation cellular systems. Topics include point-to-point signal
          transmission through a wireless channel, cellular capacity, multi-user transmissions,
          and mobility management.

     •    CSCE 3020. Communications Systems.
          Introduction to the concepts of transmission of information via communication
          channels. Amplitude and angle modulation for the transmission of continuous-time
          signals. Analog-to-digital conversion and pulse code modulation. Transmission of
          digital data. Introduction to random signals and noise and their effects on
          communication. Optimum detection systems in the presence of noise.

     •    ENEE 3583. Computer Systems Design I (UNO).
          The design process of digital computer systems is studied from the instruction set
          level, system architecture level, and digital logic level. Topics include machine
          organization, register transfer notation, processor design, memory design, and
          input/output considerations. Includes semester project.

     •    ENEE 3584. Computer Systems Design II (UNO).
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          The design and evaluation of contemporary computer systems are analyzed to
          compare the performance of different architectures. Topics include performance
          metrics, computer arithmetic, pipelining, memory hierarchies, and multiprocessor
          systems.

     •    ENEE 3514. Computer Architecture Laboratory (UNO).
          Selected experiments examining programmable logic, VHDL and logic synthesis,
          and including a final design project, to accompany and complement the lecture
          course ENEE 3584. Three hours of laboratory.

 Courses Taught

     Fall 2019
         • CSCE 5933.3: LTE Physical Layer Using MATLAB (no evaluation yet)
         • CSCE 6940.743: 5G MIMO Systems (no evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
     Spring 2019
         • CSCE 6940.743: 5G MIMO Systems (no evaluation done)
         • CSCE 6940.743: Software Defined Radios (no evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
     Fall 2018
         • CSCE 5933.3: LTE Physical Layer Using MATLAB (4.8 / 5.0)
         • CSCE 6940.743: 5G MIMO Systems (no evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
     Spring 2018
         • CSCE 6940.743: 5G MIMO Systems (no evaluation done)
         • CSCE 6940.743: Jitter-buffer Management and Interference in VoIP (no
            evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
     Fall 2017
         • CSCE 5933.3: LTE Physical Layer Using MATLAB (4.9 / 5.0)
         • CSCE 6940.743: 5G MIMO Systems (no evaluation done)
         • CSCE 6940.743: VoLTE and VoWiFi (no evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
     Spring 2017
         • CSCE 6950.743: Dissertation (no evaluation done)
     Fall 2016
         • CSCE 5933.3: LTE Physical Layer Using MATLAB (4.7 / 5.0)
         • CSCE 6950.743: Dissertation (no evaluation done)
     Spring 2016
         • CSCE 5950.743: Thesis (no evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
     Fall 2015
         • CSCE 3010.1: Signals and Systems (5.7 / 7.0)
         • CSCE 5950.743: Thesis (no evaluation done)
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         • CSCE 6950.743: Dissertation (no evaluation done)
     Spring 2015
         • CSCE 5934.743: Directed Study (no evaluation done)
         • CSCE 5950.743: Thesis (no evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
     Fall 2014
         • CSCE 3010.1: Signals and Systems (3.32 / 4.00)
         • CSCE 5950.743: Thesis (no evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
         • CSCE 6590.1: Advanced Topics in Wireless Communications & Networks:
            4G/LTE (3.79 / 4.00)
     Spring 2014
         • CSCE 3510.1: Intro to Wireless Communication (808 – Highly Effective)
         • CSCE 5510.1: Wireless Communications (808 – Highly Effective)
         • CSCE 5950.743: Thesis (no evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
     Fall 2013
         • CSCE 5950.743: Thesis (no evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
         • CSCE 6590.1: Advanced Topics in Wireless Communications & Networks:
            4G/LTE (804 – Highly Effective)
     Spring 2013
         • CSCE 4890.743: Directed Study (no evaluation done)
         • CSCE 5950.743: Thesis (no evaluation done)
         • CSCE 6940.743: Individual Research (no evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
     Fall 2012
         • CSCE 3010.1: Signals and Systems (793 – Highly Effective)
         • CSCE 5540.1: Intro to Sensor Networks (814 – Highly Effective)
         • CSCE 5950.743: Thesis (no evaluation done)
         • CSCE 6950.743: Dissertation (no evaluation done)
     Spring 2012
         • CSCE 3020.1: Communication Systems (809 – Highly Effective)
         • CSCE 3510.1: Intro to Wireless Communication (811 – Highly Effective)
         • CSCE 5510.1: Wireless Communications (817 – Highly Effective)
         • EENG 3810.1: Communication Systems (801 – Highly Effective)
     Fall 2011
         • CSCE 3010.1: Signals and Systems (793 – Highly Effective)
         • CSCE 5540.1: Intro to Sensor Networks (824 – Highly Effective)
     Spring 2011
         • CSCE 3020.1: Communication Systems (820 – Highly Effective)
         • CSCE 3510.1: Intro to Wireless Communication (812 – Highly Effective)
         • CSCE 5510.1: Wireless Communications (812 – Highly Effective)
         • EENG 3810.1: Communication Systems (826 – Highly Effective)

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     Fall 2010
         • CSCE 3010.1: Signals and Systems (857 – Highly Effective)
         • CSCE 5540.1: Intro to Sensor Networks (831 – Highly Effective)
     Spring 2010
         • CSCE 3020.1: Communication Systems (792 – Highly Effective)
         • CSCE 3510.1: Intro to Wireless Communication (793 – Highly Effective)
         • CSCE 5510.1: Wireless Communications (834 – Highly Effective)
         • EENG 3810.1: Communication Systems (854 – Highly Effective)
     Fall 2009
         • CSCE 3010.1: Signals and Systems (4.40 / 5.00)
         • CSCE 5540.1: Intro to Sensor Networks (4.70 / 5.00)
         • EENG 2620.1: Signals and Systems (4.40 / 5.00)
     Spring 2009
         • CSCE 3020.1: Communication Systems (4.87 / 5.00)
         • CSCE 3510.1: Intro to Wireless Communication (4.65 / 5.00)
         • CSCE 5510.1: Wireless Communications (4.79 / 5.00)
     Fall 2008
         • CSCE 3010.1: Signals and Systems (4.91 / 5.00)
         • CSCE 5540.2: Intro to Sensor Networks (4.10 / 5.00)
         • EENG 2620.3: Signals and Systems (4.91 / 5.00)
     Spring 2008
         • CSCE 3020.1: Communication Systems (4.68 / 5.00)
         • CSCE 3510.1: Intro to Wireless Communication (3.96 / 5.00)
         • CSCE 5510.1: Wireless Communications (4.75 / 5.00)
     Fall 2007
         • CSCE 3010.1: Signals and Systems (4.57 / 5.00)
         • CSCE 5540.2: Intro to Sensor Networks (4.01 /5.00)
     Summer 2007
         • CSCE 3020.1: Fund. of Communication Theory (no evaluation done)
         • EENG 3810.1: Communication Systems (no evaluation done)
     Spring 2007
         • CSCE 5510.2: Wireless Communications (4.75 / 5.00)
         • CSCE 5933.6: Fundamentals of VoIP (4.70 / 5.00)
     Fall 2006
         • CSCE 3010.1: Signals and Systems (4.58 / 5.00)
         • CSCE 5540.1: Intro to Sensor Networks (4.70 / 5.00)
         • EENG 2620.1: Signals and Systems (4.58 / 5.00)
     Summer 2006
         • CSCE 3020.1: Fund. of Communication Theory (no evaluation done)
         • CSCE 3510.21: Intro to Wireless Communications (no evaluation done)
         • CSCE 5510.21: Intro to Wireless Communications (no evaluation done)
         • EENG 3810.1: Communication Systems (no evaluation done)
     Spring 2006
         • CSCE 2610.2: Computer Organization (3.69 / 5.00)

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         • CSCE 3010.1: Signals and Systems (4.41 / 5.00)
         • EENG 2620.1: Signals and Systems (4.41 / 5.00)
     Fall 2005
         • CSCE 3510.1: Intro to Wireless Communications (4.52 / 5.00)
         • CSCE 5510.1: Wireless Communications (4.46 / 5.00)
         • CSCE 5933.6: Intro to Sensor Networks (4.60 / 5.00)
     Summer 2005
         • CSCE 3010.21: Signals and Systems (no evaluation done)
         • CSCE 3510.21: Intro to Wireless Communications (no evaluation done)
     Spring 2005
         • CSCE 3510.02: Intro to Wireless Communications (4.46 / 5.00)
         • CSCI 3100.02: Computer Organization (4.14 / 5.00)
     Fall 2004
         • CSCE 3510.01: Intro to Wireless Communications (4.15 / 5.00)
         • CSCI 4510.01: Machine Structures (4.55 / 5.00)
         • CSCI 5330.02: Intro to Wireless Communications (4.05 / 5.00)
     Summer 2004
         • CSCI 4330.22: Intro to Wireless Communications (no evaluation done)
         • CSCI 4330.23: Intro to Wireless Communications (no evaluation done)
         • CSCI 5330.22: Intro to Wireless Communications (no evaluation done)
     Spring 2004
         • CSCI 3100: Computer Organization (4.64 / 5.00)
         • CSCI 4330: Intro to Wireless Communications (4.22 / 5.00)
     Fall 2003
         • CSCI 4510: Machine Structures (4.49 / 5.00)
         • CSCI 5330: Intro to Wireless Communications (4.83 / 5.00)
     Summer 2003
         • CSCI 3100: Computer Organization (no evaluation done)
     Spring 2003
         • CSCI 3100: Computer Organization (3.84 / 5.00)
     Fall 2002
         • CSCI 4510: Machine Structures (4.38 / 5.00)

 Funded Proposals

     R1. “I/UCRC Industrial Membership - Ashum Corp,” 2019. Krishna Kavi (PI), Robert
         Akl (co-PI), $60,900.

     R2. “I/UCRC Industrial Membership - Ashum Corp,” 2018. Krishna Kavi (PI), Robert
         Akl (co-PI), $57,700.

     R3. “Robotics and App Design Summer Camp” under Texas Higher Education
         Coordinating Board: Engineering Summer Program. Requested amount is
         $11,727. Submitted 5/5/17. Robert Akl (PI), $11,727.

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     R4. “I/UCRC Industrial Membership - Ashum Corp,” 2017. Krishna Kavi (PI), Robert
         Akl (co-PI), $50,000.

     R5.      “UNT GenCyber Summer Program: Inspiring the Next Generation of Cyber Stars
             in North Texas,” National Security Agency (NSA). Requested amount is $85,000.
             Submitted 11/4/2016. Robert Akl (co-PI), $85,000.

     R6. “App Design Summer Camp” under Texas Higher Education Coordinating Board:
         Engineering Summer Program. Requested amount is $12,900. Submitted 5/6/16.
         Robert Akl (PI), $12,900.

     R7. “I/UCRC Industrial Membership - Ashum Corp,” 2016. Krishna Kavi (PI), Robert
         Akl (co-PI), $65,000.

     R8. “Robotics, Game and App Programming Summer Camps” under Texas Workforce
         Commission: Summer Merit Program. Requested amount is $63,000. Submitted
         11/16/15. Robert Akl (PI), $63,000.

     R9. “App Design Summer Camp” under Texas Higher Education Coordinating Board:
         Engineering Summer Program. Requested amount is $13,998. Submitted 5/1/15.
         Robert Akl (PI), $13,988.

     R10. “I/UCRC Industrial Membership - Ashum Corp,” 2015. Krishna Kavi (PI), Robert
          Akl (co-PI), $40,000.

     R11. “App Design Summer Camp” under Texas Higher Education Coordinating Board:
          Engineering Summer Program. Requested amount is $12,500. Submitted 5/2/14.
          Robert Akl (PI), $12,500.

     R12. “I/UCRC Industrial Membership - Ashum Corp,” 2014. Krishna Kavi (PI), Robert
          Akl (co-PI), $46,000.

     R13. “I/UCRC Industrial Membership - Ashum Corp,” 2013. Krishna Kavi (PI), Robert
          Akl (co-PI), $38,500.

     R14. “Robotics, Game and App Programming Summer Camps” under Texas Workforce
          Commission: Summer Merit Program. Requested amount is $63,000. Submitted
          12/14/12. Robert Akl (PI), $63,000.

     R15. “Bio-Com Project,” funded by Raytheon under Net-Centric Software and Systems
          I/UCRC 2nd year. Requested amount is $30,000. Submitted 5/12/12. Krishna Kavi
          (PI), Robert Akl (co-PI), $30,000.

     R16. “Bio-Com Project,” funded by Raytheon under Net-Centric Software and Systems
          I/UCRC. Requested amount is $30,000. Submitted 5/12/11. Krishna Kavi (PI),


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             Robert Akl (co-PI), $30,000.

     R17. “Game Programming for Xbox 360 Summer Camp” under Texas Higher
          Education Coordinating Board: Engineering Summer Program. Requested amount
          is $20,000. Submitted 3/21/11. Robert Akl (PI), $20,000.

     R18. “RoboCamps and Game Programming Summer Camps” under Texas Workforce
          Commission: Summer Merit Program. Requested amount is $63,000. Submitted
          2/17/11. Robert Akl (PI), $63,000.

     R19. “Game Programming for Xbox 360 Summer Camp” under Texas Higher
          Education Coordinating Board: Engineering Summer Program. Requested amount
          is $13,000. Submitted 2/22/10. Robert Akl (PI), $18,000.

     R20. “Robotics and Game Programming Summer Camps” under Texas Workforce
          Commission: Summer Merit Program. Requested amount is $63,000. Submitted
          10/16/09. Robert Akl (PI), $63,000.

     R21. “Micro Air Vehicle Design: A Collaborative Undergraduate Project for Electrical
          Engineering, Computer Engineering, and Computer Science Students,” under
          UNT Undergraduate Research Initiative. Submitted 9/25/2009. Robert Akl (co-
          PI), $8,000.

     R22. “Summer Merit Program” under Texas Workforce Commission. Requested
          amount is $42,000. Submitted 3/20/09. Robert Akl (PI), $42,000.

     R23. “Robocamp at Stewpot” under Dallas Women's Foundation. Requested amount is
          $20,000. Submitted 2/23/09. Robert Akl (PI), $18,600.

     R24. “Robocamp Jump Start” under Motorola Foundation Innovation Generation
          Grant. Requested amount is $29,852. Submitted 2/12/09. Robert Akl (PI),
          $30,700.

     R25. “Engineering Summer Program” under Texas Higher Education Coordinating
          Board. Requested amount is $7,944. Submitted 2/13/09. Robert Akl (PI), $11,111.

     R26. “Texas Youth in Technology” under Texas Workforce Commission. Requested
          amount is $152,393. Submitted 11/10/08. Robert Akl (PI), $152,393.

     R27. “IUCRC Center Proposal: Net-Centric Software and Systems,” under NSF-07-
          537: Industry/University Cooperative Research Centers. Requested amount is
          $349,482. Submitted 9/26/08. Krishna Kavi (PI), Robert Akl (co-PI), $60,000 per
          year for 5 years.

     R28. “Robocamp and Beyond” under Motorola Foundation Innovation Generation
          Grant. Requested amount is $30,000. Submitted 6/20/08. Robert Akl (PI),

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             $30,000.

     R29. Texas Youth in Technology” under Texas Workforce Commission. Requested
          amount is $30,000. Submitted 2/27/08. Robert Akl (PI), $31,500.

     R30. “Robocamp Program for Young Women” under RGK foundation. Requested
          amount is $30,000. Submitted 11/5/07. Robert Akl (PI), $15,000.

     R31. “Texas Youth in Technology” under Texas Workforce Commission. Requested
          amount is $102,514. Submitted 10/22/07. Robert Akl (PI), $102,514.

     R32. “Women Art Technology” under Hispanic and Global Studies Initiatives Fund.
          Requested amount is $14,125. Submitted 9/30/07. Jennifer Way (PI), Robert Akl
          (co-PI), $12,785.

     R33. “Robocamp Mobile Unit” under Motorola Foundation Innovation Generation
          Grant. Requested amount is $35,000. Submitted 6/20/07. Robert Akl (PI),
          $30,000.

     R34. “ICER: UNT Engineering Challenge Camps” under NSF 0547299. Requested
          amount is $35,000. Submitted 4/27/07. Oscar Garcia (PI), Robert Akl (senior
          personnel), $32,792.

     R35. “IUCRC-Planning Proposal: UNT Research Site Proposal to join Embedded
          Systems I/UCRC,” under NSF-01-116: Industry/University Cooperative Research
          Centers. Requested amount is $10,000. Submitted 3/31/07. Krishna Kavi (PI),
          Robert Akl (co-PI), $10,000.

     R36. “High-assurance NCCS: Ultra Dependability Integration Engineering,”
          Department of Defense. Requested amount is $20,000. Submitted 3/12/07.
          Krishna Kavi (PI), Robert Akl (co-PI), $20,000.

     R37. “Recruiting and Retention Strategies for Computer Science at UNT” under Texas
          Technology Workforce Development Grant Program – 2005. Requested amount
          is $163,322. Submitted 3/17/05. Robert Akl (PI), $125,322.

     R38. UNT Faculty Research Grant for Fall 2003, Robert Akl (PI), $5,000, $4,000.

     R39. UNT Junior Faculty Summer Research Fellowship for Summer 2003, Robert Akl
          (PI), $5,000, $5,000.




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 Professional Associations and Achievements

 Membership in Professional Organizations

     •    Senior Member IEEE
     •    Member, Federation Council of North Texas Universities
     •    Member, Eta Kappa Nu Electrical Engineering Honor Society
     •    Member, Golden Key National Honor Society
     •    Member, Tau Beta Pi Engineering Honor Society

 Offices and Committee Assignments in Professional Organizations

     •    Technical Program Committee Member, IEEE Wireless Communications and
          Networking Conference, IEEE WCNC
     •    Technical Program Committee Member, International Wireless Symposium, IWS
     •    Technical Program Committee Member, IEEE International Conference on
          Computational Science, IEEE ICCS
     •    Technical Program Committee Member, IASTED International Conference on
          Wireless Communications, WC
     •    Technical Program Committee Member, WTS Wireless Telecommunications
          Symposium
     •    Technical Program Committee Member, Mosharaka International Conference on
          Computer Science and Engineering, Amman
     •    Invitation to serve as an NSF reviewer/panelist for Engineering Research Centers
          (ERC) proposals
     •    Technical Program Committee Member, 18th IEEE International Symposium on
          Personal, Indoor and Mobile Radio Communication, Greece
     •    International Program Committee, IASTED International Conference on Wireless
          and Optical Communication, Canada
     •    Program Committee Member, Fifth Annual Wireless Telecommunications
          Symposium, CA
     •    Technical Publications Chair, IEEE Vehicular Technology Conference, Dallas TX
     •    Session Chair, International Conference on Computing, Commun. and Control
          Tech., Austin TX
     •    Session Chair, International Conference on Cybernetics and Information
          Technologies, Orlando FL
     •    Session Chair, 8th World Multi Conference on Systemics, Cybernetic, and
          Informatics, Orlando FL

 Additional Responsibilities and Activities

     •    Reviewer, Wireless Communications and Mobile Computing, 2012 – present
     •    Reviewer, Journal of Sensor and Actuator Networks, 2012 – present
     •    Reviewer, IEEE Transactions on Vehicular Technology, 2011 – present
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     •    Reviewer, Elsevier Journal of Computers & Electrical Engineering, 2008 –
          present
     •    Reviewer, IEEE Globecom, 2007 – present
     •    Reviewer, IEEE International Conference on Advanced Networks and
          Telecommunication Systems (ANTS), 2008 – present
     •    Reviewer, The International Wireless Communications and Mobile Computing
          Conference, 2007 – present
     •    Reviewer, Journal on Wireless Communications and Networking, 2007 – present
     •    Reviewer, IEEE Transactions on Communications, 2007 - present
     •    Reviewer, International Journal of Communication Systems, 2007 – present
     •    Reviewer, IEEE Communications Magazine, 2005 – present
     •    Reviewer, Journal of Wireless Networks, 2004 – present
     •    Reviewer, IEEE Transactions on Mobile Computing, 2004 – present
     •    Reviewer, IEEE Transactions on Wireless Communications, 2004 – present
     •    Reviewer, ACM Crossroads, 2004 – present

 Honors and Awards

     •    Who’s Who in America, 2012 Edition
     •    Winner of Tech Titan of the Future – University Level Award for UNT Robocamps
          for Girls, Metroplex Technology Business Council, 2010 with $15,000 cash prize.
     •    IEEE Professionalism Award, Ft Worth Chapter, 2008
     •    UNT College of Engineering Outstanding Teacher Award, 2008
     •    Certificate of Appreciation: IEEE Vehicular Technology Conference, Dallas, TX,
          2005
     •    Certificate of Appreciation: Denton County Boosting Engineering, Science and
          Technology (BEST) Robotics Competition, 2004
     •    Summa Cum Laude Graduate, Ranked First in Undergraduate Class
     •    The Computer Science Departmental Award for Academic Excellence, Washington
          University, 1993
     •    The Dual Degree Engineering Award for Outstanding Senior, Washington
          University, 1993
     •    The 1992 Technical Writing Competition Award, The Society for Technical
          Communication




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